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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION



                                                           COMPLAINT
  UNITED STATES OF AMERICA,                        :
    rel. C. DUSTIN BECHTOLD,M.D. AND                       CIV. 16-4115-LLP
  BRYAN WELLMAN,M.D.,                              :
                                                           JURY TRIAL
              Plaintiff/Relators,
                                                           DEMANDED
       V.

                                                           REDACTED VERSION
  WILSON ASFORA, M.D., MEDICAL
  DESIGNS,LLC,and SICAGE,LLC,

              Defendants.


                                                   X



       The United States of America,for its complaint, states:                       *

                                    NATURE OF ACTION


       1.     This is an action to recover damages and civil penalties under the False Claims Act

(FCA),31 U.S.C.§§ 3729-33,-and to recover money for common law or equitable causes ofaction

for payment by mistake and unjust enrichment. The United States' claims arise out of defendants'

illegal scheme to knowingly submit, and cause to be submitted, claims to federal healthcare

programs for items and services that resulted from kickbacks, were not medically necessary, and

were otherwise false and fraudulent.


       2.     From June 2011 through December 2018, defendant Wilson Asfora, M.D.(Asfora)

engaged in multiple kickback schemes with defendants Medical Designs,LLC(MDLLC),Sicage,

LLC (Sicage), and others designed to pay Asfora hundreds ofthousands of dollars in exchange for

his use of medical devices and other products in his spinal surgeries. These kickback schemes

violated the Anti-Kickback Statute (AKS), 42 U.S.C. § 1320a-7b(b), resulted in medically
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unnecessary surgical procedures,and caused the submission offalse claims to Medicare,Medicaid,

and TRICARE in violation oftlie FCA.


       3..     First, MDLLC paid profit distributions to Asfora and his wife that were based on

and resulted from Asfora's use of MDLLC devices. Asfora, a physician-owner of MDLLC, was

the only physician to regularly use MDLLC's spinal fusion devices during the relevant period.

The MDLLC devices were substantially equivalent to other commercially-available devices, were

not unique or superior, and were used by Asfora at Sioux Falls Specialty Hospital (SFSH) and

Sanford Medical Center(SMC)(collectively, "the Hospitals") to make money.

       4.      Second, MDLLC sought and received from multiple device companies a valuable

license to purchase the companies' spinal devices and resell the devices at a substantial profit when

Asfora used the devices at the Hospitals. MDLLC did not invent, design, manufacture, advertise,

sterilize, or package any of the devices, and it did not have any personnel to market the devices.

MDLLC simply purchased and resold the devices for its physician-owner's use. Through this

arrangement, MDLLC received a portion ofthe profits that the device companies otherwise would

have received from the sale of the devices, and MDLLC paid the resulting profit distributions to

Asfora and his wife.


       5.      Third, MDLLC covertly sold a sacroiliac device to SFSH for Asfora's use, so that

MDLLC and its physician-owner Asfora could capture the profits each time Asfora used the

device. Although another company—Blackstone Medical, Inc. d/b/a Orthofix Spinal Implants

(Orthofix)—held the exclusive license to make and distribute the sacroiliac device, MDLLC and

Asfora repeatedly asked Orthofix to pay MDLLC based on Asfora's use of the device or to allow

MDLLC to sell (and profit from the.sale of) the device when Asfora used it. Orthofix rejected

MDLLC's and Asfora's demands and warned them that their request was "illegal." Undeterred,
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MDLLC sold the sacroiliac device at a substantial markup to SFSH for Asfora's use, paid the

profits to Asfora, and concealed the unauthorized sales from Orthofix.

       6.      Fourth, in order to profit from Asfora's use of sacroiliac devices at SMC, Asfora

and MDLLC employees created a new company, Sicage, to distribute a sacroiliac device

substantially equivalent to the device that Orthofix exclusively licensed. Sicage sold those devices

only to Sanford Health and only for Asfora's use at SMC. Sicage offered, and Asfora solicited,

profit distributions based on Asfora's use of Sicage devices. Sicage's device was neither unique

nor superior to other commercially-available devices, and was used by Asfora to make money.

       7.      Asfora and MDLLC knew ofthe AKS and FCA,understood the AKS's prohibition

on offering or paying money to induce referrals and the FCA's prohibition on submitting or

causing to be submitted claims resulting from kickbacks, and had previously settled separate FCA

and AKS allegations with the United States in 2013. Nevertheless, Asfora and MDLLC engaged

in numerous illegal kickback schemes, created a new company—Sicage—to use in another

kickback scheme, and disregarded,numerous warnings, including from their own attorney, that

their conduct was illegal. Asfora also received numerous warnings that he was performing

medically unnecessary procedures—which were "excessive," "quite aggressive[]," and went

"against conventional neurosurgical teaching and practice"—with the devices in which he had a

financial interest. However, Asfora continued to submit, and caused the Hospitals to submit,

claims to federal' healthcare programs for surgeries resulting from the kickbacks, including

unnecessary procedures.

                                JURISDICTION AND VENUE


       8.      This action arises under the FCA and the common law.
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       9.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1345

because the United States is the plaintiff. The Court also has subject matter jurisdiction over this

action under 28 U.S.C. §§ 1331 and 1367(a).

       10.     The Court may exercise personal jurisdiction over the defendants under 31 U.S.C.

§ 3732(a) because the defendants can be found, reside, and transact business in this District.

       11.     Venue is proper in the District of South Dakota under 31 U.S.C. § 3732(a) and 28

U.S.C. § 1391(b) becausethe defendants can be found,reside,and transact business in this District;

and many of the events giving rise to these claims occurred in this District.

                                            PARTIES


       12.     Plaintiff, the United States of America, acting through the Department of Health

and Human Services(HHS), administers the Health Insurance Program for the Aged and Disabled

established by Title XVIII ofthe Social Security Act(SSA),42 U.S.C. §§ 1395 etseq.(Medicare).

The United States, acting through the Defense Health Agency(DHA),administers the TRICARE

prograrn (formerly CHAMPUS). Relators Carl Dustin Bechtold, M.D. (Bechtold) and Bryan

Wellman,M.D.(Wellman)have filed this case under the FCA's qui tarn provisions,and the United

States has intervened.


        13.    Relator Bechtold is an orthopedic surgeon who has been employed by Sanford

Clinic since at least 2010 to provide medical services, including surgeries, to patients at SMC.

Bechtold is board-certified by the American Board of Orthopedic Surgery and was licensed by the

State of South Dakota as a physician at all times relevant to this Complaint.

        14.    Relator Wellman is a neurosurgeon who has been employed by Sanford Clinic since

at least 2010 to provide medical services, including surgeries, to patients at SMC. Wellman is

board-certified by the National Board of Medical Examiners and the American Board of
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Neurological surgeons and was licensed by the State'^of South Dakota as a physician at all times
relevant to this Complaint.

       15.     Defendant Asfora, a neurosurgeon, resides in Sioux Falls, South Dakota and has

maintained a residence and office in Sioux Falls, South Dakota since at least 2010. During the

relevant time period, Asfora provided medical services, including surgeries, to patients at the

Hospitals. Since at least 2010, Asfora has submitted claims to, and received reimbursement from,

federal healthcare programs for his medical services. Asfora was licensed by the State of South

Dakota as a physician at all times relevant to this Complaint.

       16.     Defendant MDLLC was organized, and exists, as a privately-held South Dakota

limited liability company pursuant to the South Dakota Limited Liability Company (LLC) Act.

MDLLC's principal office is located at 6709 S. Minnesota Avenue, Suite 204, Sioux Falls, South

Dakota. Since at least 2010, Asfora and his wife have been the only owners of MDLLC,with each

owning 50% ofthe company. Since at least 2010, MDLLC has derived most of its revenue from

the sale of medical devices to the Hospitals for Asfora's use. From 2012 to 2018, MDLLC had

two employees, Kristi Vondra, MDLLC's Vice President of Operations, and Kelly Spielman,

MDLLC's Quality System Assistant.

       17.     Defendant Sicage was organized, and exists, as a privately-held South Dakota

limited liability company pursuant to the South Dakota LLC Act. Sicage's principal office is

located at 6709'S. Minnesota Avenue, Suite 206, Sioux Falls, South Dakota. In 2017 and 2018,

Asfora was the sole owner of Sicage, and Sicage derived all of its revenue from the sale of medical

devices to Sanford Health for Asfora's use at SMC. Sicage has had two employees, Kristi Vondra,

Sicage's Vice President of Operations, and Kelly Spielman, Sicage's Quality System Assistant. .
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                       LEGAL AND REGULATORY BACKGROUND

I.     THE FALSE CLAIMS ACT


       18.      The FCA provides, in pertinent part, that any person who:

                (a)(1)(A) knowingly presents, or causes to be presented, a false or
                fraudulent claim for payment or approval;

                (a)(1)(B) knowingly makes, uses, or causes to be made or used, a false
                record or statement material to a false or fraudulent claim; [or]

                (a)(1)(C) conspires to commit a violation of subparagraph(A)[or](B). ..

is liable to the United States for three times the amount ofdamages which the Government sustains,

plus a civil penalty per violation. For violations occurring between September 28, 1999 and

November 1, 2015, the civil penalty amounts range from a minimum of$5,500 to a maximum of

$11,000. Seel^ C.F.R. § 85.3;64 Fed. Reg. 47099,47103 (1999). For violations occurring on or

after November 2, 2015, the civil penalty amounts range from a minimum of $11,181 to a

maximum of$22,363. 28 C.F.R. § 85.5.

       19.      For purposes ofthe False Claims Act,

                the terms "knowing" and "knowingly"(A)mean that a person, with respect
                to information—(i) has actual knowledge of the information; (ii) acts in
                deliberate ignorance ofthe truth or falsity ofthe information; or (iii) acts in
                recldess disregard of the truth or falsity of the information; and(B)require
                no proof of specific intent to defraud....

31 U.S.C. § 3729(b)(1).

       20.      The False Claims Act defines "material" to mean "having a natural tendency to

influence, or be capable of influencing, the payment or receipt of money or property." 31 U.S.C.

§ 3729(b)(4).

II.    THE MEDICARE PROGRAM


       21;      In 1965, Congress enacted the Health Insurance for the Aged and Disabled Act,

known as the Medicare program, to pay for the costs of certain healthcare services. 42 U.S.C.
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§ 1395 et seq. Entitlement to Medicare benefits is based on age, disability, or affliction with end-

stage renal disease. See 42 U.S.C. §§ 426 to 426-1.

       22.      HHS is responsible for administration and supervision of the Medicare program.

The Centers for Medicare & Medicaid Services (CMS), an agency within HHS, is directly

responsible for administering the Medicare program. For purposes of this action, there are two

primary components to the Medicare program: Part A and Part B. Medicare Part A authorizes

payment for institutional care, including inpatient hospital services. See 42 U.S.C. §§ 1395c to

1395i-5.     Medicare Part B, a federally-subsidized, voluntary insurance program, covers a

percentage of the fee schedule for physician services as well as a variety of"medical and other

services." See 42 U.S.C. §§ 1395j to 1395w-5.

       23.      To participate in the Medicare program, a healthcare provider must file a provider

agreement with the Secretary of HHS. 42 U.S.C. § 1395cc. The provider agreement requires

compliance with the requirements that the Secretary deems necessary for participation in the

Medicare program and in order to receive reimbursement from Medicare. The provider agreement

specifically requires compliance with the federal Anti-Kickback Statute,42 U.S.C. § 1320a-7b(b).

       24.      To participate in the Medicare program as a new enrollee, institutional providers

such as hospitals must submit a Medicare Enrollment Application, Form CMS-855A. These

providers also must complete Form CMS-855A to change information or to reactivate, revalidate,

and/or terminate Medicare enrollment.


       25.      Form CMS 855A requires, among other things, signatories to certify:

                I agree to abide by the Medicare laws, regulations and program
                instructions that.apply to this provider I understand that payment
                of a claim by Medicare is conditioned upon the claim and the
                underlying transaction complying with such laws, regulations, and
                program instructions (including, but not limited to, the Federal anti-
                kickback statute and the Stark law), and on the provider's


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               compliance with all applicable conditions of participation in
               Medicare.



              I will not knowingly present or cause to be presented a false or
              fraudulent claim for payment by Medicare, and I will not submit
              claims with deliberate ignorance or reckless disregard of their truth
               or falsity.

See   https://www.cms.gov/Medicare/CMSrForms/CMS-Forms/Downloads/cms855a.pdf (last

visited Nov. 13, 2019).

       26.     An authorized official must sign the "Certification Section" in Section 15 of Form

CMS-855A, which "legally and financially binds [the] provider to the laws, regulations, and

program instructions of the Medicare program." Id.

       27.     In addition, within five months of the end ofthe cost reporting period, hospitals are

required to submit to CMS annual reports known as "cost reports" on Form CMS-2552, see 42

C.F.R. §§ 413.20(b), 413.24(f)(2). Part 11 ofForm CMS-2552 and 42 C.F.R. § 413.24(f)(4)(iv)(B)

require a mandatory certification, which includes the following certification statement:

               MISREPRESENTATION OR FALSIFICATION OF ANY
               INFORMATION CONTAINED IN THIS COST REPORT MAY
               BE   PUNISHABLE   BY   CRIMINAL,    CIVIL  AND
               ADMINISTRATIVE ACTION,FINE AND/OR IMPRISONMENT
               UNDER FEDERAL LAW. FURTHERMORE, IF SERVICES
               IDENTIFIED IN THIS REPORT WERE PROVIDED                           OR
               PROCURED THROUGH THE PAYMENT DIRECTLY OR
               INDIRECTLY OF A KICKBACK OR WERE OTHERWISE
               ILLEGAL, CRIMINAL, CIVIL AND ADMINISTRATIVE
               ACTION,FINES AND OR IMPRISONMENT MAY RESULT.

https://www.cms.gov/ReguIations-and-Guidance/Guidance/TransmittaIs/Downloads/R3P240f.pdf

(last visitedNov. 13, 2019).

       28.     Form CMS-2552 and 42 C.F.R. § 413.24(f)(4)(iv)(B) require a chief financial

officer or administrator ofthe hospital to certify that"I have read the above certification statement

and that I have examined the accompanying electronically filed or manually submitted cost report
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and the Balance Sheet and Statement of Revenue and Expenses prepared by [Provider Name(s)

and Number(s)] for the cost reporting period beginning [date] and ending [date] and to the best of

my knowledge and belief, this report and statement are true, correct, complete and prepared from

the books and records ofthe provider in accordance with applicable instructions, except as noted."

Id.


       29.     Form CMS-2552 and 42 C.F.R. § 413.24(f)(4)(iv)(B) also require a chief financial

officer or administrator of the hospital to certify that "I am familiar with the laws and regulations

regarding the provision of health care services, and that the services identified in this cost report

were provided in compliance with such laws and regulations." Id.

       30.     To participate in the Medicare program as a new enrollee, physicians must submit

a Medicare Enrollment Application, Form CMS-855I. These providers also must complete Form

CMS-855I to change information or to reactivate, revalidate, and/or. terminate Medicare

enrollment.


       31.     Form CMS-855I requires, among other things, signatories to certify:

               I agree to abide by the Medicare laws, regulations and program
               instructions that apply to me or to the organization listed in section
               4A ofthis application. The Medicare laws, regulations, and program
               instructions are available through the Medicare Administrative
               Contractor. I understand that payment of a claim by Medicare is
               conditioned upon the claim and the underlying transaction
               complying with such laws, regulations and program instructions
               (including, but not limited to, the Federal Anti-Kickback Statute,42
               U.S;C. section 1320a-7b(b)
                                       ' 5H       *      *


               I will not knowingly present or cause to be presented a false or
               fraudulent claim for payment by Medicare and will not submit
               claims with deliberate ignorance or reckless disregard of their truth
               or falsity.

See    https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/Downloads/cms855i.pdf, (last
visited Nov. 13,2019).
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        32.    The provider must sign the "Certification Section" in Section 15 of Form CMS-

8551, and in doing so, is "attesting to meeting and maintaining the Medicare requirements"

excerpted above, among others. Id.

        33.    Medicare reimburses only those services furnished to beneficiaries that are

"reasonable and necessary for the diagnosis or treatment of illness or injury or to improve the

functioning of a malformed body member...           42.U.S.C. § 1395y(a)(l)(A).

        34.    The Secretary of HHS (Secretary) is responsible for specifying services covered

 under the "reasonable and necessary" standard and has wide discretion in selecting the means for

 doing so. See 42 U.S.C. § 1395ff(a). The Secretary acts through formal regulations, and

 periodically CMS and HHS-OIG issue industry guidance.

        35.    The Secretary provides guidance to eligible providers pursuant to a series of

 Manuals,published by CMS,which are available to the public on the Internet. See generally CMS

 Internet-Only Manuals, available at https://www.cms.gov/regulations-and-guidance/guidance/
 manuals/intemet-only-manuals-ioms.html (last visited Nov. 13,2019).

        36.    At all times relevant to this Complaint, CMS contracted with private contractors,

 known as Medicare Administrative Contractors (MACs), to perform various administrative

 functions on its behalf, including reviewing and paying claims submitted by healthcare providers.

 42 U.S.C. §§ 1395h, 1395u;42 C.F.R. §§ 421.3,421.100,421.104. MACs generally act on behalf

 of CMS to process and pay Medicare claims and perform administrative functions on a regional

 level. MACs may issue Local Coverage Determinations regarding whether or not a particular item

 or service is covered. 42 U.S.C. § 1395ff(f)(2).

        37.     Medicare regulations require providers and suppliers to certify that they meet, and

 will continue to meet, the requirements of the Medicare statute and regulations. 42 C.F.R.


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 § 424.516(a)(1). In submitting claims for payment to Medicare, providers must certify that the

 information on the claim form accurately describes the services rendered and that the services were

 reasonable and medically necessary for the patient.

        38.     In each of the claims at issue in this action, Asfora, SFSH,and/or SMC certified to

 CMS that the services were reasonable and medically necessary for the patient.

        A.      Medicare Part A


        39.     Under Medicare Part A, hospitals agree with Medicare to provide covered

 healthcare items and services to treat Medicare patients. The hospital, also called a "provider," is

 authorized to bill Medicare for that treatment. During the relevant time period, CMS reimbursed

 hospitals for inpatient Part A services through MACs(formerly known as fiscal intermediaries).

        40.     Since 2007, in order to get paid, a^hospital must complete and submit to the MAC
 a claim for payment on a Form UB-04, also known as CMS-1450. This form contains patient-

 specific information including the diagnosis and types of services that are assigned or provided to
 the Medicare patient. The Medicare program relies on the accuracy and truthfulness of the UB-04

 Forms to determine whether the service is payable and what amounts the hospital is owed.

        41.     In addition, as noted previously, hospitals are required to submit to the MAC an

 annual report known as a Medicare "cost report" on Form CMS-2552, which identifies any

 outstanding costs that the hospital is claiming for reimbursement for that year. The cost report,

 serves as the final claim for payment that is submitted to Medicare. The Medicare program relies
                                                                        I


 on the accuracy and truthfulness of the cost report to determine what.amounts, if any,the hospital
 is owed or has been overpaid during the year.

        42.     In 1983, Congress established the prospective payment system(PPS)as the system

 by which hospitals are reimbursed for inpatient hospital costs. Under PPS,the amount Medicare


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pays a hospital for treating an inpatient Medicare beneficiary is largely based on the condition that
led to the patient's admission to, or that was principally treated by, the hospital.

        43.    Payments made under PPS "are payment in full for all inpatient hospital services,"

42 C.F.R. § 412.50(a), including the "[djrugs, biologicals, supplies, appliances, and equipment"

furnished to an inpatient. Id. § 409.10(a)(5). Such supplies, appliances, and equipment include

"item[s] ... that the beneficiary must continue to use after he or she leaves the hospital[,]"

 including implanted spinal devices. Id. § 409.14(b)(1).

        44.     Under PPS, a patient's condition or treatment is categorized under a classification

 system called a diagnosis related group(DRG). DRG classifications and payment rates are created

 by CMS based on the aggregation of weighted factors and average costs over time. See 42 C.F.R.

 § 412.60. The DRG establishes how much the hospital will be paid under Medicare and reflects

 the resources that the patient's condition or treatment typically requires. The DRG reimburses the

 hospital for the expected costs of any items that it must purchase in connection with the

 hospitalization, including medical devices, where those devices are appropriately used to treat a

 Medicare beneficiary.

        45.     The patient-specific information (e.g., the diagnosis codes) submitted by the

 hospital on the Form UB-04 is used to determine what DRG is assigned to a certain claim, and
 hence, what amount will be paid to the hospital.

        B.      Medicare Part B


        46.     Medicare Part B is funded by insurance premiums paid by enrolled Medicare

 beneficiaries and by contributions from the Federal Treasury. Eligible individuals who are 65 or

 older, or disabled, may enroll in Medicare Part B to obtain benefits in return for payments of

 monthly premiums. Payments under Medicare Part B typically are made directly under assignment


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to service providers and practitioners, such as physicians, rather than to the patient/beneficiary. In

that case, the physician bills the Medicare program directly.

        47.     The United States provides reimbursement for Medicare Part B claims from the

 Medicare Trust Fund through CMS. To assist in the administration of Medicare Part B, CMS

 contracts with MACs (formerly known as carriers). 42 U.S.C. § 1395u. MACs are responsible

for performing a host of administrative functions on CMS' behalf, including processing the

 payment of Medicare Part B claims to providers.

        48.     To bill Medicare, a physician must submit an electronic or hard-copy CMS-1500

 claim form to the MAC. When the CMS-1500 claim is submitted, the physician certifies that he

 or she is knowledgeable of Medicare's requirements and that the services for which payment is

 sought were "medically indicated and necessary for the health ofthe patient."

        49.     Physicians wishing to submit an electronic or hard-copy CMS-1500 claim must

 first seek to enroll in the Medicare program by submitting a provider enrollment form. During the

 Medicare enrollment process, providers must agree to certify that the claims they submit will be

 "accurate, complete, and truthful."

        50.     For a CMS-1500 claim to be paid by Medicare Part B, it must identify each service

 rendered to the patient by the physician. The service is identified through a corresponding code
 that is listed in the American Medical Association (AMA) publication called the Current

 Procedural Terminology(CPT)Manual. The CPT is a systematic list of codes for procedures and

 services performed by or at the direction of a physician. Each procedure or service is identified
 by a five-digit CPT code.

        51.     In addition to the CPT Manual,the AMA publishes the International Classification

 of Diseases (ICD) Manual, which assigns a unique numeric identifier to each medical condition.


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In order to be payable by Medicare,the CMS-1500 claim must identify both the CPT code that the
 provider is billing for and the corresponding ICD code that identifies the^patient's medical
 condition that renders the provider's service medically necessary.

        52.     When submitting claims to Medicare, providers certify on the CMS-1500, among

 other things, that: (a) the services rendered are medically indicated and necessary for the health

 of the patient; (b) the information in the claim is "true, accurate, and complete"; and (c) the

 provider understands that "payment and satisfaction of this claim will be from Federal and State

funds, and that any false claims, statements, or documents, or concealment of material fact, may

 be prosecuted under applicable Federal and State laws." After a February 2012 revision to the
 CMS-1500, providers further certify that their claims comply "with all applicable Medicare . . .

 laws, regulations, and program instructions for payment including but not limited to the Federal

 anti-kickback statute    " CMS-1500 also requires providers to acknowledge that: "Any person

 who knowingly files a statement of claim containing any misrepresentation or any false,

 incomplete or misleading information may be guilty of a criminal act punishable under law and
 may be subject to civil penalties."

        53.     Healthcare providers are prohibited from knowingly presenting or causing to be

 presented claims for items or services that the person knew or should have known were not

 medically necessary, or knew or should have known were false or fraudulent. -E.g., 42 U.S.C.

 §§ 1320a-7a(a)(l)(civil monetary penalties), 1320a-7(b)(7)(permitting exclusion ofproviders for
 fraud, kickbacks, and other prohibited activities).

        54.     A provider has a duty , to familiarize itself with the statutes, regulations, and
 guidelines regarding coverage for the Medicare services it provides. Heckler v. Cmty. Health
 Servs. ofCrawford Cty., Inc., 467 U.S. 51,64(1984).


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        55.     Because it is not feasible for the Medicare program or its contractors to review

 medical records corresponding to each of the millions of claims for payment it receives from

 providers, the program relies on providers to comply with Medicare requirements and relies on

 providers to submit truthful and accurate certifications and claims.

        56.     Generally, once a provider submits a CMS-1500 or the electronic equivalent to the

 Medicare program, the claim is paid directly to the provider, in reliance on the foregoing

 certifications, without any review of supporting documentation, including medical records.

 III.   STATE MEDICAID PROGRAMS

        57.     State Medicaid programs are authorized by Title XIX of the Social Security Act.

 42 U.S.C. §§ 1396 et seq. Medicaid is a joint federal-state program that provides healthcare

 benefits for certain groups including the poor and disabled. Each state Medicaid program is

 required to implement a "State Plan" containing certain specified minimum criteria for coverage

 and payment of claims in order to qualify for federal funds for Medicaid expenditures. 42 U.S.C.

 § 1396a.

        58.     The federal portion of each state's Medicaid payments, known as the Federal

 Medical Assistance Percentage(FMAP), is based on a state's per capita income compared to the

 national average. 42 U.S.C. § 1396d(b). During the relevant time period, the federal portion of

 Medicaid payments was as follows for the states of South Dakota, Iowa, and Minnesota:

                            Time Period          SD         lA
                         4/1/11 -6/30/11       63.92%    64.71% 51.20%
                          7/1/11 -9/30/11      61.25%    62.63% 50.00%
                          10/1/11 -9/30/12     59.13%    60.71% 50.00%
                          10/1/12-9/30/13      56.19%     59.59% 50.00%
                          10/1/13 -9/30/14     53.54%     57.93% 50.00%
                          10/1/14-9/30/15      51.64%     55.54% 50.00%
                          10/1/15 -9/30/16     51.61%     54.91% 50.00%
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                            Time Period           SI)       ■ lA
                          lO/i/16-9/30/17       54.94%     56.74% 50.00%
                          10/1/17-9/30/18       55.34%     58.48% 50.00%
                          10/1/18 - 9/30/19     56.71%     59.93% 50.00%

See 76 Fed. Reg. 32,204, 32,207 (June 3, 2011)(Q3 FY 2011); 74 Fed. Reg. 62,315, 62,316-17

(Nov. 27, 2009)(Q4 FY 2011); 75 Fed. Reg. 69,082, 69,083(Nov. 10, 2010)(FY 2012); 76 Fed.

 Reg. 74,061, 74,062-63(Nov. 30, 2011)(FY 2013); 77 Fed. Reg. 71,420, 71,422(Nov.30, 2012)

(FY 2014); 79 Fed. Reg. 3385,3387(Jan. 21,2014)(FY 2015); 79 Fed. Reg. 71,426, 71,428(Dec.

 2, 2014)(FY 2016); 80 Fed. Reg. 73,779, 73,781-82 (Nov. 25, 2015)(FY 2017); 81 Fed. Reg.

 80,078, 80,080 (Nov. 15, 2016)(FY 2018); 82 Fed. Reg. 55,383, 55,385 (Nov. 21, 2017)(FY

 2019).

          A.    South Dakota Medicaid Program

          59.   Pursuant to 42 C.F.R. § 431.18, the South Dakota Department of Social Services

(DSS)has issued South Dakota Medicaid Provider Manuals for the purpose offurnishing Medicaid

 providers with the policies and procedures needed to receive reimbursement for covered services

 provided to eligible South Dakota Medicaid recipients. Throughout the relevant time period, the

 South Dakota Medicaid Provider Manuals were available for review at the State office and in each

 local and district office, as well as online at https;//dss.sd.gov/medicaid/providers (last visited Nov.

 13,2019).

          60.    To participate in the South Dakota Medicaid program, providers such as physicians

 and hospitals must certify in their state Medicaid provider agreement that they will "comply with

 all Federal and State laws, regulations and rules applicable to Provider's participation in the SD

 Medicaid Program." See https://dss.sd.gov/docs/medicaid/providers/provider_agreement.pdf(last

 visited Nov. 13, 2019). Further, providers must"declare and affirm under the penalties of perjury
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that any claim to be submitted pursuant to this Agreement will be examined by me,and to the best

 of my knowledge and belief, will be in all things true and correct." Id.

        61.     The South Dakota Medicaid provider agreement also requires the provider to

"agree[] to provide medically necessary goods and services as required by the recipient and only
 in the amount required by the recipient. ..      Id. Participating providers must "acknowledge^

 that by submitting a claim to the SD Medicaid Program, Provider certifies that the services and

 supplies were...[mjedically necessary       " Further, the Provider must"agreeQ to submit claims

. . . [i]n accordance with billing manuals and instructions, Companion Guides, and as required

 under any and all state regulatioris; [and][t]hat are timely, true, accurate, and complete   " Id.

        62.     The South Dakota Medicaid provider agreement also requires participating

 providers to "acknowledge[] by Provider's signature on this Agreement that Provider understands
 that payment and satisfaction ofeach claim will be from Federal and State funds and that any false

 claims, statements or documents, or concealment of material fact, may be prosecuted under

 applicable Federal and State law." Id.

        63.     State regulations promulgating the South Dakota Medicaid program rules

 specifically require that physician and hospital services "must be medically necessary" to be
 covered by the Medicaid program. S.D. Admin. R. §67:16:01:06.02.

        64.     A physician enrolled as a South Dakota Medicaid provider must submit claims on

 a CMS-1500 claim form, which contains the certifications specified above in Section II.B. A

 hospital enrolled as a South Dakota Medicaid provider must submit claims on a UB-04 claim form,
 which contains the certifications specified above in Section II.A.

         65.    Because it is not feasible for the South Dakota Medicaid program or its contractors

 to review, medical records corresponding to each of the claims for payment it receives from


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providers, the program relies on providers to comply with Medicaid requirements and relies on
providers to submit truthful and accurate certifications and claims.

        B.      Iowa Medicaid Program

        66. . Pursuant to 42 C.F.R. §431.18,the Iowa Department ofHuman Services has issued

Iowa Medicaid Provider Manuals for the purpose of furnishing Medicaid providers with' the

 policies and procedures needed to receive reimbursement for covered services provided to eligible

Iowa Medicaid recipients. Throughout the relevant time period, the Iowa Medicaid Provider

 Manuals were available for review at the State office and in each local and district office, as well

as online at https://dhs.iowa.gov/policy-manuals/medicaid-provider (last visited Nov. 13, 2019).

        67.     To participate in the Iowa Medicaid program, providers such as physicians and

 hospitals must certify in their state Medicaid enrollment application that they "understand that
 payment of claims will be from federal and state funds and that any falsification or concealment
 of a material fact may be prosecuted under federal and state law." (Form 470-0254.)

        68.     Further, in Iowa's Medicaid provider agreement, providers must agree to "[cjomply

 with all applicable Federal and State laws, administrative rules and written policies of the Iowa
 Medicaid program, including but not limited to Title XIX ofthe Social Security Act(as amended),
 the Code ofFederal Regulations,the Federal anti-kickback statute and the.Stark law,the provisions

 of the Code of Iowa and administrative rules of the Iowa Department of Human Services and

 written Department policies, including but not limited to, policies contained in the Iowa Medicaid
 Provider Manual, and the terms of this Agreement." (Form 470-2965.)
                                                                                              (




        69.     Further, providers acknowledge that Iowa's Medicaid program pays for only

 "medically necessary goods and/or services actually and properly provided" to Iowa Medicaid
 beneficiaries. (Form 470-2965.)



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        70.     State regulations promulgating the Iowa Medicaid program rules specifically

 require that physician and hospital services must be "medically necessary" to be covered by the
 Medicaid program. See 41 Iowa Admin. Code § 78.

        71.     A physician enrolled as an Iowa Medicaid provider must submit claims on a CMS-

 1500 claim form, which contains the certifications specified above in Section II.B. A hospital

 enrolled as an Iowa Medicaid provider must submit claims on a UB-04 claim form, which contains

 the certifications specified above in Section II.A.

        72.     Because it is not feasible for the Iowa Medicaid program or its contractors to review

 medical records corresponding to each of the claims for payment it receives from providers, the

 program relies on providers to comply with Medicaid requirements and relies on providers to

 submit truthful and accurate certifications and claims.

        C.      Minnesota Medicaid Program

        73.     Pursuant to 42 C.F.R. §431.18, the Minnesota Department of Human Services has

 issued Minnesota Medicaid Provider Manuals for the purpose of furnishing Medicaid providers

 with the policies and procedures needed to receive reimbursement for covered services provided
 to eligible Minnesota Medicaid recipients. Throughout the relevant time period, the Minnesota

 Medicaid Provider Manuals were available for review at the State office and in each local and

 district office, as well as online at https://mn.gov/dhs/partners-and-providers/edocs (last visited

 Nov. 13,2019).

         74.    To participate in the Minnesota Medicaid program, providers such as physicians
 and hospitals must certify in their state Medicaid provider agreement that they will "[c]omply with
 all federal and state statutes and rules relating to the delivery of services to individuals and to the

 submission of claims for such services." (Form DHS-4138.)



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        75.    Further, a participating provider must"[ajssume full responsibility for the accuracy

of claims submitted to [tlie Minnesota Medicaid program] in accordance with the certification

requirements of42 G.F.R.§ 455.18 and Minnesota Statutes 256B.27,subd. 2." (FormDHS-4138.)
Pursuant to those certification requirements, the provider must certify, among other things, that

each claim submitted is "true, accurate, and complete" and that the provider "understand[s] that

payment of this claim will be from Federal and State funds, and that any falsification, or

 concealment of a material fact, may be prosecuted iinder Federal and State laws." Id.

        76.    The Minnesota Medicaid provider agreement also requires the provider to agree to

"submit claims only for services, supplies, and equipment that are medically necessary as defined

 at Minnesota Rules 9505.0175, subp. 25, and that meet professionally recognized standards of

 health care, [and] that Provider knows or has reason to know are properly reimbursable under

 federal and state statutes and rules." (Form DHS-4138.)

        77.     State regulations promulgating the Minnesota Medicaid program rules specifically

 require that physician and hospital services must be, among other things,"medically necessary,"
 "appropriate and effective for the medical needs of the recipient," and "the most cost-effective
 health service available for the medical needs of the recipient" to be covered by the Medicaid

 program. Minn. Admin. R. 9505.0210.

        78.     A physician enrolled as a Minnesota Medicaid provider must submit claims on a
 CMS-1500 claim form, which contains the certifications specified above in Section II.B. A

 hospital enrolled as a Minnesota Medicaid provider must submit claims on a UB-04 claim form,
 which contains the certifications specified above in Section II.A.

        79.     Because it is not feasible for the Minnesota Medicaid program or its contractors to

 review medical records corresponding to each ofthe claims for payment it receives from providers.


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the program relies on providers to comply with Medicaid requirements and relies on providers to
submit truthful and accurate certifications and claims.

IV.     THE TRICARE PROGI^M

        80.    TRICARE (formerly CHAMPUS) is a medical benefits program established by

federal law. 10 U.S.C. §§ 1071-1110b. TRICARE covers eligible beneficiaries, including active

duty members of the Uniformed Services and their dependents as well as retired members of the

Uniformed Services and their dependents. The federal government reimburses a portion of the

cost of healthcare services and prescription medications provided to TRICARE beneficiaries.

TRICARE is administered by the DHA.

        81.    TRICARE covers only medically necessary inpatient and outpatient care.

TRICARE defmes medically necessary care as services or supplies provided by a hospital,

 physician, and/or other provider for the prevention, diagnosis, and treatment of an illness, when

those services or supplies are determined to be consistent with the condition, illness, or injury; are

 provided in accordance with approved and generally accepted medical or surgical practice; are not

 primarily for the convenience of the patient, the physician, or other providers; and do not exceed

(in duration or intensity) the level of care which is needed to provide safe, adequate, and

 appropriate diagnosis and treatments. See 32 C.F.R. § 199.4(a)(l)(i) and applicable definitions at
 32 C.F.R. §199.2.

        82.     TRICARE regulations also provide that TRICARE may deny payment in "abuse

 situations." 32 C.F.R. § 199.9(b). To avoid abuse situations, providers are obligated to provide

 services and supplies under TRICARE that are: "Furnished at the appropriate level and only when

 and to the extent medically necessary . . .; of a quality that meets professionally recognized

 standards of health care; and, supported by adequate medical documentation as may reasonably be


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required under this part...to evidence the medical necessity and quality of services furnished, as

well as the appropriateness of the level of care." Id.

        83.     TRICARE regulations, in turn, define "appropriate" medical care as that which is,

among other things, "[fjumished economically"—i.e., "in the least expensive level of care or

 medical environment adequate to provide the required medical care." 32 C.F.R. § 199.2.

        84.     As with Medicare, providers submit claims to TRICARE using the CMS-1500 or

an electronic equivalent. Providers therefore make the same certifications in submitting claims to

TRICARE as they do when submitting claims to Medicare.

        85.     Because it is not feasible for the TRICARE program or its .contractors to review

 medical records corresponding to each of the claims for payment it receives from providers, the

program relies on providers to comply with TRICARE requirements and submit truthful and
 accurate certifications and claims.


 V.     THE ANTI-KICKBACK STATUTE

        86.    ■ The Anti-Kickback Statute (AKS), 42 U.S.C. § 1320a-7b(b), arose out of

 Congressional concerns involving physicians' conflicts of interest and overutilization of medical

 services and items. First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to

 ensure that kickbacks masquerading as legitimate transactions did not evade its reach. See Social

 SecurityAmendmentsof 1972,Pub.L.No.92-603,§ 242(b),(c);42 U.S.C. § 1320a-7b,Medicare-

 Medicaid Anti-Fraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid

 Patient and Program Protection Act of 1987, Pub. L.No. 100-93. The AKS prohibits the payment

 of kickbacks in order to protect the integrity of federal healthcare programs such as Medicare,'

 Medicaid, and TRICARE.




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        87.     The AKS prohibits any person from knowingly and willfully offering, paying,
 soliciting, or receiving any remuneration, directly or indirectly, overtly or covertly, in cash or in
 kind, to induce or reward a person for, inter alia, purchasing, ordering, arranging for, or
                                 /



 recommending the purchase or ordering ofany goods or services for which payment may be made,

 in whole or in part, under a federal healthcare program.

        88.     In pertinent part, the AKS provides:

                b. Illegal remunerations

                (1) Whoever knowingly and willfully solicits or receives any remuneration
                (including any kickback, bribe, or rebate) directly or indirectly, overtly or
                covertly, in cash or in kind—

                (A) in return for referring an individual to a person for the furnishing or •
                arranging for the furnishing of any item or service for which payment may
                be made in whole or in part under a Federal health care program, or

                (B) in return for purchasing, leasing, ordering, or arranging for or
                recommending purchasing, leasing, or ordering any good, facility, service,
                or item for which payment may be made in whole or in part under a Federal
                health care program,

                shall be guilty of a felony and upon conviction thereof, shall be fined not
                more than $100,000 or imprisoned for not more than ten years, or both.
                (2) Whoever knowingly and willfully offers or pays any remuneration
                (including any kickback, bribe, or rebate) directly or indirectly, overtly or
                covertly, in cash or in kind to any person to induce such person
                (A)to refer an individual to a person for the furnishing or arranging for the
                furnishing of any item or service for which payment may be made in whole
                or in part under a Federal health care program, or
                (B) to purchase, lease, order or arrange for or recommend purchasing,
                leasing or ordering any good, facility, service, or item for which payment
                 may be made in whole or in part under a Federal health care program,
                 shall be guilty of a felony and upon conviction thereof, shall be fined not
                 more than $100,000 or imprisoned'for not more than ten years, or both.

 42 U.S.C,§ 1320a-7b(b). "[A] person need not have actual knowledge of[the AKS] or specific
 intent to commit a violation of[the AKS]." Id. § I320a-7b(h).




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        89.       Pursuant to the AKS, "a claim that includes items or services resulting from a

violation of [the AKS] constitutes a false or fraudulent claim for purposes of [the FCA]." 42

U.S.C. § 1320a-7b(g); see also, e.g., Guilfoile       Shields, 913 F.3d 178, 190-91 (1st Cir. 2019)

("§ 1320a-7b(g)'s obviation ofthe 'materiality' inquiry essentially codifies the long-standing view

that AKS violations are 'material' in the FCA context:").

        A.        AKS "Safe Harbors"


        90.       The Office of Inspector General for HHS (GIG) has promulgated "safe harbor"

regulations that define practices that are not subject to the AKS because such practices are unlikely

to result in fraud or abuse. 42 C.F.R. § 1001.952. The safe harbors set forth specific conditions

that, if met, assure persons involved of not being sanctioned for the arrangement qualifying for the

 safe harbor. However, safe harbor protection is afforded to only those arrangements that meet all

 requirements of the safe harbor.

        91.       Under the investment interests safe harbor, a payment to an investor that is a return

 on ah investment is not remuneration for purposes of the AKS only if all eight of the safe harbor's

 requirements are satisfied,       42 C.F.R. § 1001.952(a).

        92.       The safe harbor for investment interests is narrowly tailored to prevent improper

 economic inducements from being disguised as ordinary investments. Among other things, the

 safe harbor for investment interests requires:

    • The terms on which an investment interest is offered to an investor who is in a position to
        ... generate business for the entity must not be related to the previous or expected volume
        of referrals ... or the amount of business otherwise generated from that investor to the
        entity;

    • No more than 40 percent of the entity's gross revenue related to. the furnishing of health
      care items and services in the previous fiscal year or previous 12 month pefiod may come
        from referrals or business otherwise generated from investors;




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       • No more than 40 percent of the value of the investment interests . . . may be held in the
         previous fiscal year or previous 12 month period by investors who are in a position to make
           or influence referrals to ... or otherwise generate business for the entity;[and]

       • The amount ofpayment to an investor in return for the investment interest must be directly
         proportional to the amount ofthe capital investment(including the fair market vMue ofany
         pre-operational services rendered) of tliat investor.

42 C.F.R. § 1001.952(a)(2)(i),(iii),(vi),(viii).

           93.    The direct and indirect payments from MDLLC to Asfora alleged herein did not

 satisfy the requirements of this or any other AKS safe harbor, and at all relevant times Asfora,

 MDLLC,and Sicage were aware that such payments did not satisfy any AKS safe harbor.

           B.     OIG Special Fraud Alerts and Related Guidance

           94.    To alert the public to "trends of health care fraud and certain practices of an

 industry-wide character," OIG issues special fraud alerts, which are published online and in the

 Federal Register. 59 Fed. Reg.65,372, 65,373 (Dec. 19, 1994). The fraud alerts "provide general

 guidance to the health care industry" and assist others "in identifying health care fraud schemes."

 Id.


           95.    In 1989, OIG issued a Special Fraud Alert on Joint Venture Arrangements. OIG

 warned that physician joint venture arrangements may violate the AKS where the arrangement was

 "intended not so much to raise investmerit capital legitimately to start a business, but to lock up a

 stream of referrals from the physician investors and to compensate them indirectly for those

 referrals." OIG, Special Fraud Alert: Joint Venture Arrangements, reprinted in 59 Fed. Reg.

 65,372, 65,374(Dec. 19, 1994).

           96.     OIG reiterated its concerns in a 2003 Special Advisory Bulletin regarding the

 "proliferation of arrangements between those in a position to refer business, such as physicians,
 and those providing items or services for which Medicare or Medicaid pays." OIG, Special


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Advisory Bulletin: Contractual Joint Ventures, reprinted in 68 Fed. Reg. 23,148, 23,148(Apr. 30,
2003)(warning that such "questionable contractual arrangements" may violate the AKS).

         97.    In March 2013, OIG issued another Special Fraud Alert regarding physician-owned

entities, including such entities "referred to as physician-owned distributorships, or'PODs.'" OIG
 Special Fraud Alert: Physician-Owned Entities(Mar.26,2013), reprinted in 78 Fed. Reg. 19,271,

 19,272 (Mar. 29, 2013). OIG noted that it had previously warned that physician-owned medical

 device and distribution entities create "the strong potential for improper inducements" to

 physician-investors and "should be closely scrutinized under the fi-aud and abuse laws," including

the AKS. Id. at 19,272(quoting Letter from Vicki Robinson,'-"Response to Request for Guidance

 Regarding Certain Physician Investments in the Medical Device Industries"(Oct. 6, 2006)).

         98.    As OIG explained in its March 2013 Special Fraud Alert, PODs "derive revenue

 from selling, or arranging for the sale of, implantable medical devices ordered by their physician-

 owners for use in procedures the physician-owners perform on their own patients at hospitals or

 ambulatory surgical centers." Id.

         99.    The 2013 fraud alert reiterated longstanding AKS concerns regarding PODs,

 including: (1)the corruption of medical judgment, (2) overutilization, (3) increased costs to
 federal healthcare programs, and (4) unfair competition. M at 19,272.

     ■   100.   The 2013 fraud alert warned that PODs are "inherently suspect" under the AKS,

 and it reiterated OIG's prior guidance that the opportunity for a referring physician to earn a profit,
 including through an investment return from an entity for which the physician generates business,
 could constitute illegal remuneration under the AKS. Id.

         101.   OIG identified the following five features, among others, that may render PODs

 particularly suspect under the AKS: (I)the POD "exclusively serves its physician-owners' patient


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base," rather than selling "on the basis of referrals from nonowner physicians"; (2) the POD

"generate[s] disproportionately high rates ofreturn for physician-owners";(3)the POD "enable[s]

the physician-owners to profit from their ability to dictate the implantable devices to be purchased

for their patients";(4) the physician-owner(s) "are few in number, such that the volume or value
ofa particular physician-owner's recommendations orrefen:als closely correlates to that physician-

owner's return on investment"; and (5) the physician-owner(s) "alter their medical practice after

or shortly before investing in the POD (for example, by performing more surgeries, or more

extensive surgeries, or by switching to using their PODs' devices on an exclusive, or nearly

exclusive basis)." Id. at 19,273.

        102.    Each defendant was on notice of the foregoing Special Fraud Alerts and Bulletins,

 which were published in the Federal Register. In addition, each defendant received the March

2013 Special Fraud Alert and other documents containing the Alert's warnings about the

requirements imposed by the AKS. For example, in June and July 2014, a newspaper in Sioux

 Falls published two articles about PODs operating at the Hospitals. The first article cited, quoted

from,and included a hyperlink to a copy ofHHS-OIG's March 2013 Special Fraud Alert regarding

PODs, and the second article linked to the first. In connection with the second article, the

 newspaper interviewed Asfora. Asfora read the resulting article, forwarded it to others, and

 complained to MDLLC's co-owner and MDLLC's VP of Operations—^who later took the same

 position at Sicage—that MDLLC was described as a POD.

         103.   Defendants understood the legal risks associated with submitting claims for

 surgeries in which Asfora profited from the devices he used^ However, even after OIG's Special

 Fraud Alert in March 2013, Asfora continued to submit, and cause the Hospitals to submit, claims

 to federal healthcare programs resulting from kickbacks, including medically unnecessary


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procedures. Asfora never identified in any of his claims to federal healthcare programs that he,
the provider performing the surgeries, was profiting from the devices he surgically implanted in
patients.

                             SPINAL SURGERY BACKGROUND

I.      SPINAL SURGERY


        104.    There are four regions of the spine: the cervical, thoracic, lumbar, and sacral

regions. The cervical spine consists of seven vertebrae in the neck region; the thoracic spine

consists of twelve vertebrae in the chest region; the lumbar spine consists of five vertebrae in the

lower back region; and the sacral spine(sacrum)consists offive vertebrae below the lumbar spine.

        105.    Each vertebra of the cervical, thoracic, lumbar, and sacral spine is referred to by a

letter and number denoting its region and location. From top to bottom, the seven vertebrae ofthe

cervical spine are named C1-C7; the twelve vertebrae of the thoracic spine are named T1-T12; the

five vertebrae of the lumbar spine are named L1-L5; and the five vertebrae of the sacral spine are

 named SI—S5.


        106.    A spinal fusion is a surgery that is performed to join (or "fuse") two or more

 vertebrae of the spine.

        107. Spinal fusion surgeries can be performed in numerous ways. In a posterior fusion,
 the surgeon accesses the spine through an incision in the back. In a transforaminal fusion, which
 is an adaptation of the posterior fusion procedure, the disc space is accessed through an opening
 between vertebrae. In an anterior fusion, the surgeon accesses the spine through an abdominal

 incision.


         108.   While most spinal vertebrae are mobile, the sacral vertebrae of adults are joined

 together to form an immobile, wedge-shaped bone called the sacrum. The sacrum and the pelvis


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are connected by strong ligaments, forming sacroiliac(SI)joints. In an SIjoint instrumentation or
SI joint fusion, the surgeon seeks to fuse the SI joint.

II.     SPINAL DEVICES

        A.      Device Approval or Clearance Process

        109. Spinal devices may be used in connection with a fusion surgery to help stabilize the
 spine and facilitate fusion. Before a vendor can market a spinal device in interstate commerce,the
 device must be approved or cleared by the Food and Drug Administration (FDA).

        110. Premarket approval is the most stringent type of device marketing application

 required by the FDA. Premarket approval is based on the FDA's determination that the device
 marketing application contains sufficient valid scientific evidence to assure that.the device is safe

 and effective for its intended use(s). No device sold by MDLLC orSicage has received premarket

 approval.

         111. Companies can bypass the FDA's premarket approval process if they show, during
 a premarket notification process pursuant to Section 510(k) of the Food, Drug and Cosmetic Act,
 that their proposed device is "substantially equivalent" to existing, commercially-available
 devices. See 21 U.S.C. § 360e(b)(l); 21 C.F.R. § 814.1(c)(1).

         112. For example, when MDLLC applied in 2009 for 510(k) clearance of a device
 known as the Bullet Cage,MDLLC represented to the FDA that the Bullet Cage was "substantially
                                                                                  I


 identical" to two commercially-available predicate devices, the Interfix Threaded Fusion Device

 and the Ray TFC Device. In that application, MDLLC informed the FDA that the Bullet Cage had
 "the same indication statements," "the same intended use," "the same technological

 characteristics," and was made of the same "material" (titanium alloy) as the predicate devices.

 MDLLCs application was supported by a certification signed by Asfora that to the best of his


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knowledge all data and information in the application was "truthful and accurate." MDLLC further

confirmed to the FDA in July 2009 that the Bullet Cage was "substantially equivalent to the

predicate deYice[s] in all key device features." In August 2009, the FDA cleared MDLLC to sell
the Bullet Cage for use in "spinal fusion procedures in skeletally mature patients with degenerative

disc.disease(DDD)and instability in the lumbar spine at one or two levels from L2 to SI."

        113.   Likewise, when Sicage applied for 510(k) clearance of its Sicage device, it

represented to FDA that the device "possesses the same technological characteristics"—including
the intended use, basic design (threaded bone screw), material (titanium alloy), and sizes—as two

commercially-available predicate devices, the Synthes 6.5 mm Cannulated Screw and the Silex

 Sacroiliac Joint Fusion System. Sicage confirmed to the FDA that "[t]he fundamental scientific

technology of the SICAGE System is the same as previously cleared devices."

        B.     Types of Spinal Devices

        114. During the relevant period, the types of devices described below were generally

 commercially available,

        115.    A cage is a device that may be implanted in a fusion surgery to maintain space

 between vertebral segments. MDLLC received as much as $4,000 per cage that Asfora surgically

 implanted in patients.

      . 116. A pedicle screw is a metallic device that is implanted into the bones ofthe spine to

 facilitate the fixation of the spinal vertebrae. Pedicle screws are implanted into two or more

 adjacent spinal segments'and are used to anchor"rods" or "plates." MDLLC received as much as

 $1,400 per pedicle screw that Asfora surgically implanted in patients.




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        117. A plate is a device that is implanted in connection with cervical surgery. A plate is
anchored by screws and placed longitudinally along the front of the cervical spine. MDLLC

received as much as $2,250 per plate that Asfora surgically implanted in patients. .

        118.      A rod is a device that is placed longitudinally along the back of the lumbar and

thoracic spine and is anchored by pedicle screws. MDLLC received as much as $350 per rod that
 Asfora surgically implanted in patients.

        119.      An SI screw is a device that is implanted in connection with an SI joint fusion.

 MDLLC received FDA clearance for an SI screw known as the Samba screw in August 2012, and

 Sicage received FDA clearance for an SI screw known as the Sicage device in May 2017.. When
 surgically implanted by Asfora in patients, MDLLC received as much as $3,500 per Samba screw,

 and Sicage received as much as $3,250 per Sicage screw.

        120.      At all relevant times, Asfora selected the devices that he used in spinal surgeries at

 the Hospitals.

                                 DEFENDANTS'FALSE CLAIMS

 I.     DEFENDANTS'KICKBACK SCHEMES

        A.        The Bullet Cage

         121.     As Vondra, MDLLC's Vice President ofOperations, testified, the Bullet Cage"was

 no longer unique" when it received FDA clearance in August 2009. At least two other titanium
 interbody cages were on the market, and MDLLC represented to the FDA that the Bullet Cage was
 "substantially equivalent" to those devices "in all key device features."

         122.     Vondra testified that when MDLLC began offering the Bullet Cage for sale in 2009,

 there was "a lot of competition," including by substantially equivalent devices. To try to convert




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physicians "from what they have already been using for six, seven years and that they like," she
testified, was "difficult."

        123.    MDLLC found it so difficult to find physicians willing to use the Bullet Cage that

 it offered and paid money to physicians to use the device. MDLLC offered and paid its physician-

owner, Asfora, profit distributions based on his use of MDLLC devices. Asfora used his

relationship with MDLLC to guarantee profits for himself through his use of MDLLC-supplied

 products in his own surgeries.

        124.    MDLLC's physician-owner, Asfora, also personally asked his neurosurgeon

 colleagues and acquaintances to use MDLLC devices. Asfora did so because he knew that he

 would profit from their use of MDLLC devices. On numerous occasions, MDLLC and Asfora

 offered to pay such neurosurgeons to encourage them to use MDLLC devices.

        125.    In or about November 2009, Asfora attended the annual meeting of the North

 American Spine Society(NASS)in San Francisco, California. Quentin Durward, M.D., a board-

 certified neurosurgeon and fellow of the American Association of Neurological Surgeons, also

 attended the NASS meeting. Durward performs surgery at The Center for Neurdsciences,

 Orthopaedics & Spine in Dakota Dunes, South Dakota and Faith Regional Hospital in Norfolk,
 Nebraska. Asfora and Durward had known each other before the NASS meeting. Earlier in their

 careers, both Asfora and Durward had trained with the same neurosurgeon in Canada.

         126.   At the NASS meeting, Asfora spoke with Durward about the Bullet Cage.

         127.   Asfora offered to pay Durward $800 in cash for each Bullet Cage that Durward

 used. In response, Durward told Asfora that Asfora's offer did not sound legal or proper.




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       128.    Asfora told Durward not to worry because Asfora's attorney could structure the

payment as a consulting fee to make it legal. Durward refused Asfora's offer, believing it was a

blatant bribe and illegal inducement.

       129.    In or about late 2009 and early 2010, MDLLC and Asfora offered to make monthly

payments to three of Asfora's physician colleagues who were considering using the Bullet Cage.

MDLLC paid those physicians thousands of dollars per month from May 2010 to April 2011. To

disguise the kickbacks, MDLLC described the payments as "consulting fees."

       130.    Before the fee payments, those three physicians had infrequently or sporadically

used MDLLCs Bullet Cage device. During the period in which they received the fee payments,

the three physicians regularly used the Bullet Cage in their surgeries. After the fee payments

ceased, the three physicians ceased regularly using the Bullet Cage.

       131.    During the period ofthe fee payments, MDLLC paid each of the three physicians a

fixed monthly sum of money, which did not vary regardless ofthe amount of time, if any, that the

physician spent performing consulting work for MDLLC that month.
                                                                 y




       132.    MDLLC paid different amounts of consulting fees to the three physicians. Of the

three physicians, MDLLC paid the most per month to the physician who used the most Bullet

Cages, and the least per month to the physician who used the fewest Bullet Cages. Specifically,

MDLLC paid $10,000 per month to Wellman,the physician who used the most Bullet Cages other

than Asfora;$5,000 per month to the physician who used the next highest number ofBullet Cages;

and $3,000 per month to the physician who used the fewest Bullet Cages.

       133.    A number ofAsfora's colleagues raised concerns about MDLLC's payments to the

physicians who used the MDLLC devices in surgeries at SMC. For example, a Sanford Clinic

surgeon warned SMC that Asfora "owns the company that makes the [Bullet] cages," "has an



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income from the use ofthe cages," and since the FDA clearance has been using the cages "almost

exclusively" and "doing a large number of multiple level spinal fusions," such that he was "an

'outlier' when compared to other spine surgeons."

        134.   Sanford Health's Chief Compliance Officer (CCO) began investigating such

concerns in late 2010, aware of the risk that MDLLC's payments were "kickbacks that would be

in violation of[the] Anti-Kickback [Statute] In particular, she was concerned about whether the

physicians were "getting paid for using [MDLLC devices] in a back door way" as purported
consulting fees. However, despite her repeated requests to MDLLC and Asfora, they refused to
provide her with copies of the consulting agreements, telling her the matter was "[n]one of[her]

business."


        135. In September 2011,MDLLC and Asfora each were served with subpoenas by HHS-

 OIG in connection with an investigation ofpossible violations offederal healthcare fraud statutes,

 including the AKS. In December 2013, MDLLC and Asfora settled allegations that they had
 violated the FCA and AKS,among other laws, as a result of MDLLC's consulting fee payments

from May 2010 to April 2011, where such payments were intended to induce the recipients to
 promote and/or use Bullet Cages. MDLLC and Asfora signed the settlement agreement on
 December 19, 2013.

        136. Despite being under investigation for paying consulting fee kickbacks, MDLLC

 and Asfora were engaged in other kickback schemes at the same time, offering physicians another
 way to profit from their use of MDLLC products. In February 2012, MDLLC offered to .extend
 the type of kickback it was paying to Asfora—profit distributions based on his use of MDLLC
 products—to neurosurgeons Wellman and Troy Gust, M.D. That month, MDLLC's physician-
 owner, Asfora, offered Wellman and Gust an opportunity to invest in or become an owner of


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  MDLLC in order to receive the profits that they would generate from their use ofproducts sold by
  MDLLC,such as the Bullet Cage.

             137. Wellman and Gust refused MDLLC's offer. On February 24, 2012, Wellman and
 Gust s counsel sent a letter to Asfora and MDLLC's counsel, confirming in writing that "neither
 Drs. Wellman nor Gust are interested in forming any type of health care entity or joint venture
 with Dr. Asfora." Wellman and Gust's counsel stated, "[w]e wish to be clear that this is not a
 negotiation, simply a clarification of intent    "

            138. Even though Wellman had refused MDLLC's profit distributions kickback offer,
 MDLLC and Asfora offered Wellman a new type ,of kickback aboutfour months later. On July 2,
,2012, MDLLC's physician-owner, Asfora, offered to pay Wellman $1,000 for each Bullet Cage
 that Wellman used in surgery.

            139. To Justify the offer, Asfora told Wellman that they got into trouble doing it "the
 right way"—by paying consulting fees—so this time Wellman would be paid under the table,

 without a trail, and no one would know. Wellman rejected Asfora's offer and told him it was

 illegal.

            140. Physicians without a financial reason to use the Bullet Cage rarely did so. Over
90% of MDLLC's sales of the Bullet Cage from 2012 to 2018 were to the Hospitals for Asfora's
 use. No physician other than Asfora,who receives profit distributions from MDLLC,and the three

 physicians who received consulting fees from MDLLC, has regularly used the Bullet Cage. No
physician outside ofSioux Falls, South Dakota has regularly used the Bullet Cage.

            141.   Despite numerous wamings, MDLLC continued paying to Asfora, and Asfora

continued soliciting and receiving from MDLLC,profit distributions based on Asfora's use ofthe'

Bullet Cage and other products.distributed by MDLLC. See Sections I.B.-E.j infra.


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        142. By paying profit distributions to Asfora, MDLLC secured Asfora's and the
 Hospitals' business and generated millions ofdollars in revenue. From June 1,2011 to December
 31, 2018, MDLLC's primary source of revenue was its sale of medical products, nearly all of
 which were sold to the Hospitals for Asfora's use. During that period, Asfora generated hundreds
 ofthousands ofdollars per year in revenue for MDLLC based on his use of MDLLC products, and
 MDLLC distributed ;he resulting profits, directly or indirectly, and in a variety of types of
 payments, to Asfora and his wife. For example:

           a. In 2012, MDLLC paid over $14,500 to a corporate entity owned and
              controlled by Asfora, and agreed to pay over $190,000 directly to Asfora
               and over $190,000 to Asfora's wife.

           b. In 2013, MDLLC paid over $75,000 to a corporate entity owned and
               controlled by Asfora and over $20,000 directly to Asfora.
           c. In 2014^ MDLLC paid over $1,600,000 directly to Asfora, over $750,000
              to Asfora's wife, and over $60,000 to two corporate entities owned and
               conti-olled by Asfora.

           d. In 2015, MDLLC paid over $215,000 directly to Asfora, over $170,000 to
              Asfora's wife, and over $40,000 to two corporate entities owned and
               controlled by Asfora.

           e. In 2016, MDLLC paid over $265,000 directly to Asfora, at least $100,000
              to Asfora's wife, and over $40,000 to a corporate entity owned and
              controlled by Asfora.                                            .

           f. In 2017,MDLLC paid at least $225,000 directly to Asfora, at least $225,000
              to Asfora's wife, and over $40,000 to a corporate entity owned and
              controlled by Asfora.

           g. In 2018, MDLLC paid at least $50,000 directly to Asfora, at least $50,000
              to Asfora's wife, and over $44,000 to a corporate entity owned and
              controlled by Asfora.

       143.   Such payments included rent paid from MDLLC to a corporate entity owned and

controlled by Asfora, paid monthly or as MDLLC generated enough cash to make the payment.




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         144. MDLLC made the above-referenced payments to Asfora, his wife, and corporate
  entities owned and controlled by Asfora using checks drawn from MDLLC's First National Bank
  account(ending in 1818). Asfora and his wife deposited.those checks in their bank accounts and
 the accounts of corporate entities owned and controlled by Asfora.
         B.      Amendia Products

         145. While under investigation in 2012 for violating the AKS by paying consulting fee
 kickbacks, MDLLC and Asfora entered into another arrangement to compensateAsfora for his use
 of medical devices.

         146. In or about February and March 2012, MDLLC and Amendia discussed allowing
 MDLLC to resell Amendia products for use in Asfora's surgeries. In this arrangement, MDLLC
 would act as a middleman taking a cut of the profits on each sale of Amendia's spinal products
 when Asfora used the products in his surgeries. MDLLC solicited from Amendia a valuable

 license to resell the products, and agreed to purchase (at a fraction ofthe resale price)the products
 as needed for Asfora's use, to resell the products at a steep markup to hospitals for Asfora's use,
 and to share the profits with Asfora.

        147.    Under this arrangement, MDLLC would act as a physician-owned distributor of

 Amendia's products. Amendia, however, had a written corporate compliance policy titled
"Arrangements with Physician-Owned Distributors," which its counsel had drafted one year
 earlier. In or about March 2012, Amendia sent its compliance policy and a letter from its counsel,

to MDLLC and Asfora.


        148.   In the letter, Amendia's counsel advised that "PODs are in the crosshairs of the

Department of Health and Human Services, both from an anti-kickback and a Stark law




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 perspective. There Is not an available safe harbor or exception to those laws to protect POD
 arrangements^ leaving such arrangements open to scrutiny."
         149. Under Amendia's policy, the company was required to conduct due diligence
 before entering into any type ofarrangement with a POD. The policy specified twelve compliance
 items that must be satisfied either by documentation from the POD or an affidavit from an officer
 ofthe POD. Among other things, Amendia's policy required that"[t]he POD is currently servicing
 multiple Providers or anticipates broadening its customer base to include multiple Providers,
 including hospitals or ambulatory surgery centers at which the physician owners of the POD do
 not have medical staff privileges." The policy also required that "[t]he POD has performed a
 regulatory analysis for compliance with the federal Medicare and Medicaid anti-kickback statute

 and the federal physician self-referral law as well as any applicable state fraud and abuse laws and

 has determined that the POD is operating in a manner that would not violate such laws."

        150.     After receiving Amendia's policy, MDLLC told Amendia on March 30, 2012 that

 MDLLC "should have the agreement completed on Monday." However, nearly three weeks later,

 Amendia was still waiting for MDLLC to provide a written agreement"if[MDLLC's counsel] has
 blessed it."'


        151.     In May and early-June 2012, before any written agreement with Amendia was

formalized or signed, MDLLC distributed for a profit the following Amendia products for Asfora's

use: (1) Amendia's Savannah-T Pedicle Screw System, which included pedicle screws, rods,

Kirschner (or "K")-wires, and set screws; and (2) Amendia's Diamond System, which included

cervical plates, variable screws, and cervical drill bits.
                                                                          I


        152.     Ultimately, on June 13, 2012, MDLLC and Asfora's counsel wrote to Amendia

regarding MDLLC and "the distribution of Amendia products," stating that "things have worked


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  out" such that the existing distributor of Amendia products in Sioux Falls, South Dakota—rather
 than MDLLC—^will be "doing all the distribution" of Amendia products.
         153. During May and early-June 2012, when MDLLC could profit from Asfora's use of
 the devices pursuant to its arrangement with Amendia, Asfora often used Amendia's products in
 his surgeries. However,Asfora rarely, ifever, used Amendia's Savannah-T and Diamond products
 before MDLLCs arrangement with Amendia,and rarely, ifever,used such products after MDLLC
 ended its arrangement with Amendia.

        C.     Life Spine Products

        154. While under investigation for violating the AJCS by paying consulting fee
 kickbacks, MDLLC's physician-owner, Asfora, told a sales representative at Merging Medical
 Solutions Inc., Jesse Talcott, that MDLLC should own the products that Asfora uses for spinal
 surgery, so that MDLLC and Asfora could make money when Asfora used those products.
        155.   MDLLC directed Taleott to find a company that would allow MDLLC to resell its

 products for Asfora's use. Talcott did so. A number of companies would not participate in the
proposed scheme to allow a physician-owned company to profit from the resale of devices for the

physician-owner's use. However, medical device company Life Spine Inc.(Life Spine)agreed to
participate, and Talcott told MDLLC and Asfora that Life Spine was a potential partner. MDLLC
sought and received from Life Spine the ability to resell Life Spine products for a profit. MDLLC
agreed to markup and resell Life Spine's products, and Asfora agreed to use Life Spine's products
in exchange for profit distributions from MDLLC.

        156. In contrast to Amendia, Life Spine neither had a written compliance policy

concerning PODs, nor asked MDLLC for compliance documentation or an affidavit. Unlike the

Amendia arrangement, MDLLC distributed Life Spine's products for a lengthy period of time.


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 From May 2012 to January 2014, MDLLC purchased from Life Spine its NEO-SL Anterior
 Cervical Plate System (NEO-SL)products, including cervical plates, variable screws, and cervical
 drill bits. From July 2012 to May 2014, MDLLC purchased from Life Spine its Avatar Pedicle
 System (Avatar) products, including pedicle screws, rods, Kirschner (or "K")-wires, and set
 screws.



        157. MDLLC and Asfora sought to profit from Asfora's use of Life Spine products at
 SMC in May and June 2012. MDLLC invoiced those Life Spine products to Sanford Health,
 which paid numerous invoices, totaling thousands'of dollars.

        158.   However, on or about June 13, 2012, Sanford told MDLLC and Asfora that

IS^DLLC was not allowed to sell Life Spine products for Asfora's use at SMC. As MDLLC's VP
of Operations testified, she understood that Sanford would not purchase another company's
products that MDLLC was reselling "[b]ecause they didn't want to do any business with anything

that was a physician-owned distributor, anything that was a POD."

        159.   On June 14, 2012, MDLLC prepared and subsequently sent a letter to Sanford

Health, asking it to "void" its prior check that had paid four invoices for Amendia and Life Spine

products. MDLLC confirmed to Sanford Health that "the only items that are being billed through

[MDLLC]" are the Bullet Cage and another MDLLC product, the Dakota Knife.

        160.   Despite the warnings from Amendia and Sanford, MDLLC continued reselling Life

Spine products. Specifically, from July 2012 to May 2014, MDLLC resold Life Spine's NEO-SL

and Avatar products to SFSH for Asfora's use in surgeries.

        161.   The below chart depicts the prices MDLLC generally paid to Life Spine to purchase

NEO-SL products, the prices at which MDLLC resold those products to SFSH, and the gross

profits MDLLC generated from each sale:



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  mwnHinnB^M                  MDLLC's Purchase           MDLLC's Re-Sale            MDLLC's Gross
                          :    Price(Per Unit)             Priee(Per Unit)          Profit tPer Unit)
   Cervical Plate                  $500.00                    $1,900.00                $1.400 00
   Variable Screw                 $125.00                      $250.00                  $125 00
   Cervical Drill Bit             $200.00                      $250.00                  $50.00
         162. Although on occasion MDLLC paid Life Spine $700 per cervical plate, MDLLC
 still was able to resell each such plate to SFSH for $1,900 per plate, generating a gross profit of
 $1,200 per plate.

         163. The below chart depicts the prices MDLLC paid to Life Spine to purchase Avatar
 products, the prices at which MDLLC resold those products to SFSH, and the gross profits
 MDLLC generated from each sale:


 SAvSar PrS                   MDLLC's Purchase           MDLLC's Re-Sale | MDLLC's Gross
                               Price(Per Unit]            Price(Per Unitl           Profit(Per Unit)
  Pedicle Screw                   $600.00                     $1,400.00                 $800.00
  Rod                             $175.00                      $350.00                  $175.00
  K-Wire                           $75.00                      $206.50                  $131.50
  Set Screw                       $80.00                       $160.00                   $80.00

        164.    Neither MDLLC nor Asfora invented, designed, manufactured, advertised,

 marketed, sterilized, or packaged any of the Life Spine NEO-SL or Avatar products. Instead,

 MDLLC simply received the Life Spine products at its office and delivered them to SFSH for use

 in Asfora's surgeries.

        165.    In May and June 2012, MDLLC sold the Life Spine products to only the Hospitals,

 and only for Asfora's use. After June 2012, MDLLC sold the Life Spine products to only SFSH,

 and only for Asfora's use.

        166.    MDLLC ordered the Life Spine products as needed for Asfora's surgeries, rather

than purchase an inventory, and thus had little if any storage costs and no risk.

        167.   By purchasing small quantities as needed, and immediately reselling them to SFSH

for use in Asfora's surgeries, MDLLC generated significant revenue and extraordinary profits.
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         168. MDLLC received over $355,000 in revenue based on the resale of Life Spine's
  Avatar products for Asfora's use. With those products, MDLLC could—and did—buy and resell
 pedicle screws for an immediate 133% return; K-wires for a 175% return; and rods and set screws
 for a 100% return. In total, MDLLC's gross profit on its resale of Avatar products for Asfora's
 use exceeded $200,000—an overall return of over 130% for the Avatar products it resold for
 Asfora's use.

         169. -MDLLC received over $125,000 in revenue based on the resale of Life Spine's
 NEO-SL products for Asfora's use. With those products, MDLLC could—and did—buy and resell
 cervical plates for an immediate 280% return; variable screws for a 100% return; and drill bits for
 a 25/0 return. In total, MDLLC's gross profit on its resale of NEO-SL products for Asfora's use
 exceeded $70,000—an overall return of over 140% for the NEO-SL products it resold for Asfora's
 use.



        170. Asfora regularly used Life Spine's Avatar and NEO-SL products during the time
 period in which MDLLC was able to profit from the resale of those products for Asfora's use.

        171. For example, on or about^^m,2013,Asfora implanted one Life Spine cervical *
 plate and eight Life Spine variable screws in patient^^^^m (DOB B||/1961) at SFSH,
using one Life Spine drill bit. SFSH billed Medicare for the inpatient services and received a

Medicare Part A payment of over $11,000. Asfora billed Medicare for his professional services
and received a Medicare Part B payment of over $2,650. SFSH paid MDLLC $4,150 for the Life

Spine devices used in the surgery.

        172. As another example, on or aboutj^^^^ 2013, Asfora implanted one Bullet
Cage, two Life Spine pedicle screws, and two Life Spine rods in patient                     (DOB

1^/1933) at SFSH, using two Life Spine K-wires. SFSH billed Medicare for the inpatient


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 services and received a Medicare Part A payment of over $20,850. Asfora billed Medicare for his
 professional services and received a Medicare Part B payment of over $2,650. For the, devices
 used in the surgery, SFSH paid MDLLC $4,000 for the Bullet Cage and over $3,900 for the Life
 Spine devices, for a total of over $7,900.

         173. As still another example, on or about               2013, Asfora implanted eight
 Bullet Cages, five Life Spine pedicle screws, and one Life Spine rod in patient
                  at SFSH,using five Life Spine K-wires. SFSH billed TRICARE for the inpatient
 services and received a TRICARE payment of over $33,800. Asfora billed TRICARE for his

 professional services and received a TRICARE payment of over $6,200. For the devices used in

 the surgery, SFSH paid MDLLC $32,000 for the Bullet Cages and over $7,300 for the Life Spine

 devices, for a total of over $39,300.

        174." Asfora rarely, if ever, used Life Spine's Avatar and NEO-SL products before

 MDLLC's arrangement with Life Spine, and rarely, if ever, used such products after MDLLC

ended its arrangement with Life Spine.

        D.      Aegis Spine Products

        175.    In January 2014, one month after settling allegations of paying consulting fee

kickbacks, MDLLC and its physician-owner, Asfora, met with the CEO of Aegis Spine Inc.

(Aegis) to discuss an arrangement by which MDLLC and Asfora could profit when Asfora

implanted Aegis products in patients.

        176.    By January 2014, Aegis already had a non-physician distributor, Peter Sanchez

(Sanchez), who transacted business in Sioux Falls, South Dakota and could distribute Aegis

products for Asfora to use at the Hospitals. By March 12,2014, Aegis had a second non-physician

distributor, Talcott, who transacted business in Sioux Falls, South Dakota and could distribute .



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 Aegis products for Asfora to use at the Hospitals. At that time, MDLLC was not a distributor of
 Aegis products. Although Asfora could have used Aegis products distributed by Sanchez or
 Talcott, neither MDLLC nor Asfora would have profited from such use.

         177. Despite knowing, by March 2014, that Aegis already had two distributors in South
 Dakota, MDLLC and Asfora sought from Aegis an alternative arrangement by which they would
 make money from Asfora's use of Aegis products. On or about March 19, 2014, MDLLC began
 purchasing products from Aegis to resell to hospitals for Asfora's use in surgeries.
        178. Effective April 10, 2014, MDLLC entered into a written agreement with Aegis "to
 purchase Products from [Aegis] for resale to hospitals or other licensed healthcare facilities

('Facilities') for use in surgical procedures performed at such Facilities."

        179. Pursuant to the agreement. Aegis granted MDLLC "the right to distribute" Aegis

 products, including the pedicle screw and cervical plate systems, "solely within the Territory,"

 which was defined as SMC, SFSH, and one other hospital in' Sioux Falls, South Dakota.

 Specifically, Aegis granted MDLLC "a nontransferable, royalty free, non-exclusive license under

any and all Product Intellectual Property Rights to import, use, repair, sell and offer for sale the

Products ...."


        180.   The agreement allowed MDLLC to order Aegis products as needed; pay Aegis only

for the products "consumed" (i.e., used in surgery); pay Aegis within 60 days of the end of the

 month in which products were consumed; and return and receive a refund for unconsumed •

products. Thus, not only would MDLLC have a guaranteed customer in Asfora, its co-owner, but

MDLLC would bear little if any financial risk under the Aegis arrangement.




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         181. MDLLC and Asfora knew how much they would profit from the sale of Aegis
 products, due to communications with Talcott, and receipt of capitated price lists from Sanford
 Health and SFSH,which detailed how much those hospitals would pay for spinal devices.
         182. Despite MDLLC and its' owners bearing little risk, the Aegis agreement allowed
 MDLLC to receive hundreds of dollars in profit per Aegis product that Asfora used, totaling
 thousands of dollars ofprofit per surgery that Asfora performed.
         183. On April 9, 2014, one day before the effective date of the Aegis-MDLLC
 agreement, MDLLC and Asfora received a letter from their counsel. Their counsel stated that he

 had reviewed the Aegis agreement, which he found to be "a very favorable agreement" and in fact
"may actually be too favorable."

         184. Asfora and MDLLC's counsel warned that "[t]he biggest issue I see pertains to
 compliance." "Under the anti-kickback statute," counsel explained, "there is liability for any
 agreement if one purpose of it is to induce referrals. In this case, the argument would be that this

 distributorship is being entered into in order to ensure that Dr. Asfora continues to use the Aegis
 Spine Inc. products." Counsel noted that Aegis "ha[s] a representative right now in our area that
does sales for a living," and in contrast, MDLLC "has no hired representatives."

        185.    Asfora and MDLLC's counsel noted that he had "discussed with Dr. Asfora"

possible alternatives, such as "tak[ing] no profit on devices utilized by him [Asfora] personally,"
but that approach "would largely defeat the benefit of the distribution agreement."

        186.    Counsel advised MDLLC and Asfora that, under the proposed arrangement. Aegis
would be "covering our carrying costs," MDLLC would be "taking almost no risk," MDLLC could

"guarantee that the product will be utilized," and "with the 60 day float" MDLLC would "be able

to effectively order on a case-by-case basis, and will profit from the same."


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         187. Counsel warned Asfora and MDLLC: "In addition to making us a traditional POD
 which is subject to extraordinary scrutiny by the GIG, this [arrangement with Aegis] will also be
 one where we will likely receive a high return on a very low risk venture."

      ■ 188.    Counsel emphasized to MDLLC and Asfora, "I hate to be the bearer of bad news

 but this would certainly expose us to a potential qui tarn claim or an independent investigation by
 the government." While defenses could be raised, counsel advised,"if would be a tough case."
        189.   In conclusion, counsel advised MDLLC and Asfora to make a decision "with both

eyes wide open" to the consequences.

        190.   That same day, April 9, 2014, after receiving counsel's letter, Asfora stated, "I do

not entirely agree" with counsel's legal advice. Asfora stated,"I have decided to sign the contract,"

and noted that he planned to "sell to all hospitals" and would "use the devices."

        191.   Rejecting their attorney's advice, MDLLC and Asfora signed the distribution

agreement with Aegis on April 18,2014. MDLLC and Asfora refused to take any steps to address

the concerns raised by their counsel. Instead, they moved ahead with their plan to profit from

Asfora's use of Aegis products at the Hospitals.

        192.   Asfora's wife,a co-owner ofMDLLC,who discussed the proposed Aegis deal with

Asfora and MDLLC's counsel, testified that there were "compliance concems" and "the whole

conversation going forward on this was it's not a good idea and there could be serious issues down

the road." She testified that the Aegis arrangement concerned her and "just didn't feel right."

               1.      Sales of Aegis Products to SFSH

        193.   From March 2014 to February 2015, despite the concerns expressed to MDLLC,

MDLLC purchased Aegis' pedicle,screw system and cervical plate system products and resold

them at a significant profit to SFSH for Asfora's use. The below chart depicts the prices MDLLC



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 paid to Aegis to purchase its pedicle screw system and cervical plate system products, the prices
 at which MDLLC resold those products to SFSH, and the gross profits MDLLC generated from
 each sale from March 2014 to February 2015:

                             MDLLC's Purchase         MDLLC's Resale Price         MDLLC's Gross
                                Price (Per Unit)        to SFSH (Per Unit)         Profit(Per Unit)
  Pedicle Screw                    $300.00                   $1,400.00                $1,100.00
  Straight Rod              _      $100.00                    $350.00                  $250.00
  Curved Rod                        $80.00                    $350.00                  $270.00
  Set Screw                         $30.00                    $80.00                    $50.00
  Cervical Plate                   $350.00                   $1,900.00                $1,550.00
  Cervical Plate Screw              $60.00                    $250.00                  $190.00

         194.   By distributing Aegis products to SFSH for Asfora's surgeries, MDLLC could—

 and did—buy and resell cervical plates for an immediate 443% return; pedicle screws for a 367%

 return; curved rods for a 338% return; cervical plate screws for a 317% return; straight rods for a

 250% return; and set screws for a 167% return.

        195.    For example,on or about^^H           2014, Asfora implanted two Bullet Cages,one

 Aegis pedicle screw,one Aegis set screw, one Aegis curved rod, and three Samba screws in patient

                (DOB H||/1930) at SFSH, using three sharp Steinmann pins, one long blunt

 Steinmann pin, one short blunt Steinmann pin, three drill bits, and one packing tube. SFSH billed

 Medicare for the inpatient services and received a Medicare Part A payment of over $32,350.

 Asfora billed Medicare for his professional services and received a Medicare Part B payment of

 over $3,450. For the devices used in the surgery, SFSH paid MDLLC $8,000 for the Bullet Cages,

 over $1,800 for the Aegis devices, and over $14,200 for the Samba products, for a total of over

$24,000.

        196.    As another example, on or about I                2014, Asfora implanted six Bullet

 Cages,four Aegis pedicle screws, four Aegis set screws, and one Aegis curved rod in patient

           (DOB HB|''1949) at SFSH. SFSH billed Medicare for the inpatient services and
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 received a Medicare Part A payment ofover $21,700. Asfora billed Medicare for his professional
 services and received a Medicare Part B payment of over $4,250. For the devices used in the
 surgery, SFSH paid MDLLC $24,000 for the Bullet Cages and over $6,000 for the Aegis devices,
 for a total of over $30,000.

         197. In September 2014,SFSH notified Asfora and MDLLC that it would be terminating
 MDLLC's purchase order agreement. SFSH raised concerns that MDLLC was operating as a POD
 by selling devices to SFSH for use by MDLLC's physician-owner, Asfora.

         198. Rather than cease to resell products at a profit for Asfora's use in surgeries,
 MDLLC then used a middleman to resell Aegis products to SFSH at a profit for use in Asfora's

 surgeries. From March 2015 to September 2015, MDLLC purchased pedicle screw system
 products from Aegis and resold them to Innovative Medical Solutions, LLC (IMS), a company
 owned by Talcott, to be resold to SFSH for Asfora's use in surgeries. During that time period, the

 below chart depicts the prices MDLLC paid to Aegis to purchase those products, the prices at
 which MDLLC resold those products to IMS, and the gross profits MDLLC generated from each



     Aegis PrdductS;:-
  Pedicle Screw                   $300.00                    $750.00                  $450.00
  Straight Rod                    $100.00                    $150.00                  $50.00
  Curved Rod                      $80.00                     $150.00                  $70.00
  Set Screw                       $30.00                      $50.00                  $20.00

        199.   By distributing Aegis products to IMS for Asfora's surgeries at SFSH, MDLLC

could—and did—buy and resell pedicle screws for an immediate 150% return; curved rods for an

88% return; set screws for a 67% return; and straight rods for a 50% return.

        200.   For example, on or about I              ,2015, Asfora implanted ten Bullet Cages,

six Aegis pedicle screws, six Aegis set screws, and one Aegis straight rod in patient
                                                                                   |
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 0^*^^ ^|/I948) at SFSH. SFSH billed Medicare for the inpatient services and received a
 Medicare Part A payment of over $42,000. Asfora billed Medicare for his professional services
 and received a Medicare Part B payment of over $5,875. For the devices used in the surgery,
 MDLLC received $40,000 from SFSH for the Bullet Cages,and over $4,900 for the Aegis devices,
 for a total of over $44,900.

                2.      Sales of Aegis Products to Sanford

        201. At Sanford, MDLLC and Asfora implemented a similar middleman scheme. They

 did so because Sanford had previously told them that it would not purchase another company's

 products that MDLLC was reselling. Rather than comply with this policy, MDLLC and Asfora

 covertly circumvented it.

        202. From March 2014 to October 2015, MDLLC purchased pedicle screw system

 products from Aegis and resold them to IMS to be sold to SMC for use in Asfora's surgeries.

        203.    From March 2014 to mid-March 2015,the below chart depicts the prices MDLLC

 paid to Aegis to purchase those products, the prices at which MDLLC resold those products to

 IMS,and the gross profits MDLLC generated from each sale:

                                MDLLC's Purchase I MDLLC's Resale Price I      MDLLC's Gross
                             a;.< Price(Per Unit) ,  to IMS(Per Unit)          Profit(Per Unit
  Pedicle Screw                    $300.00                   $500.00                $200.00
                                   $100.00                   $150.00                $50.00
  Curved Rod                        $80.00                   $125.00                $45.00
  Set Screw                         $30.00                    $40.00                $10.00

        204.    By distributing Aegis products to IMS for Asfora's surgeries at SMC, MDLLC

could—and did—buy and resell pedicle screws for an immediate 67% return; curved rods for a

56% return; straight rods for a 50% return; and set screws for a 33% return.

        205.   For example, on or about           2014, Asfora implanted six Bullet Cages, eight

 Aegis pedicle screws, eight Aegis set screws, and two Aegis straight rods in patient
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 (DOB ^^/1963) at SMC. SMC billed Medicare for the inpatient services and received a
 Medicare Part A payment of over $25,900. Asfora billed Medicare for his professional services
 and received a Medicare Part B payment of over $4,250. For the devices used in the surgery,
 MDLLC received $13,830 from SMC for the Bullet Cages, and $4,620 for the Aegis devices, for
 a total of$18,450.

        206. As another example, on or about                  2014, Asfora implanted five Bullet
 Cages, six Aegis pedicle screws, six Aegis set screws, and one Aegis straight rod in patient
                 (DOB|^|/1947) at SMC. SMC billed Medicare for the inpatient services and
 received a Medicare Part A payment of over $31,650. Asfora billed Medicare for his professional
 services and received a Medicare Part B payment of over $5,800. For the devices used in the

 surgery, MDLLC received $11,525 from SMC for the Bullet Cages, and $3,390 for the Aegis
 devices,for a total of over $14,900.

        207. In mid-March 2015, MDLLC raised the prices that IMS paid to purchase the Aegis

 pedicle screw system products to resell to SMC for Asfora's use. From mid-March 2015 to

 October 2015, the prices MDLLC paid to Aegis to purchase those products, the prices at which

 MDLLC resold those products to IMS,and the gross profits MDLLC generated from each sale are

 listed in paragraph 198, supra. The returns that MDLLC generated on such sales are listed in

 paragraph 199,supra.

        208.   For example, on or about            2015, Asfora implanted one Bullet Cage, two

Aegis pedicle screws, two Aegis set screws, and one Aegis curved rod in patient

(DOB ^^/1940) at SMC. SMC billed Medicare for the inpatient services and received a
Medicare Part A payment of over $24,000. For the devices used in the surgery, MDLLC received

$2,305 from SMC for the Bullet Cage,and $1,750 for the Aegis devices,for a total ofover $4,500.


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         209. As another example, on or about                  2015, Asfora implanted one Bullet
  Cage, five Aegis pedicle screws, five Aegis set screws, and one Aegis straight rod in patient
                (DOB^^/1939) at SMC. SMC billed Medicare for the inpatient services and
 received a Medicare Part A payment ofover $23,800. Asfora billed Medicare for his professional
 services and received a Medicare Part B payment of over $5,300. For the devices used in the
 surgery, MDLLC received $2,305 from SMC for the Bullet Cage, and $4,150 for the Aegis
 devices, for a total of over $6,450.

        210. MDLLC received over $650,000 in revenue and a gross profit of over $400,000
 from its distribution of Aegis products for Asfora's use—a total return of over 155%.

        211. Neither MDLLC nor Asfora invented, designed, manufactured, advertised,
 marketed,sterilized, or packaged any ofthe Aegis products. Instead, MIDLLC simply received the
 Aegis products at its office and delivered them, if necessary, to the Hospitals or IMS for use in
 Asfora's surgeries.

                3.     Sanford's Investigation of the Aegis Kickback Scheme
        212.    By August 2015, numerous physicians had warned Sanford that Asfora was

 receiving kickbacks to use Aegis devices. In response to the allegations, Sanford opened a
 compliance investigation.'

        213.   At the end of August 2015, Sanford's CCO interviewed Asfora. Before the

 interview, Asfora was informed that Sanford was conducting a compliance investigation involving
his conduct. Sanford asked Asfora to provide truthful answers to Sanford's questions,-and Asfora
knew that Sanford would rely on his statements during the compliance investigation.
        214.   During his interview, Asfora represented to Sanford that MDLLC had sold the

Aegis products to Talcott's company, IMS, at "cost + small adm[inistrative] fee." This

representation by Asfora was false.

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        215. Asfora did not correct his representation to Sanford. Indeed, Asforawithlield from

 Sanford additional information tliat would have shown his representation to be false. During the
 relevant period, Asfora did not disclose to Sanford that MDLLC was buying Aegis pedicle screws
for $300 per screw and marking them up to $750 per screw to sell to IMS. During his interview,
 Asfora did not disclose to Sanford that the so-called "small adm[inistrative] fe^e" on MDLLC's
resale of Aegis pedicle screws was $450 per screw. Nor did Asfora disclose to Sanford that such

fee was in fact 150% of the purchase price ofsuch Aegis pedicle screws. Nor did Asfora disclose

to Sanford the marked-up resale prices listed in paragraph 198 for other Aegis products. MDLLC

also failed to disclose to Sanford any of the information in this paragraph.

       216.    Asfora and MDLLC also withheld from the Medicare, Medicaid, and TRICARE

programs any information that MDLLC was profiting from Asfora's use of Aegis products in his

surgeries at SMC,including the information in the previous paragraph.'

       217.    After August 2015, relying on Asfora's false representation that MDLLC was

receiving only a small administrative fee when Asfora used Aegis products, SMC continued to

submit claims to federal healthcare programs for surgeries in which Asfora had used Aegis

products in which he and MDLLC had a financial interest.

       218.    For example, on November 30, 2015, SMC submitted its annual cost report on

Form CMS-2552 to CMS for the time period of July 1, 2014 to June 30, 2015. On November 29,

2016, SMC submitted its annual cost report on Form CMS-2552 to CMS for the time period of

July 1, 2015 to June 30,2016.

       219.    For each time period from 2011 to 2018, SMC's Form CMS-2552 annual reports

included SMC's claims to Medicare for Asfora's spinal surgeries. In each report, SMC

acknowledged that if any services identified in the report"were provided or procured through the


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 payment directly or indirectly of a kickback or were otherwise illegal, criminal, civil, and

 administrative action, fines, and/or imprisonment may result." Relying on Asfora's false
 representation, SMC falsely certified that the services identified in the report "were provided in
 compliance with [the] laws and regulations" regarding the provision of healthcare services.

        E.      Samba Products

        220.    As with the Bullet Cage, MDLLC and Asfora sought to profit from Asfora's use of

 the Samba screw system, which included the Samba screw, Steinmann pins, drill bits, and packing
 tube (collectively. Samba products). From December 2012 to November 2013, MDLLC paid to

 Asfora, and Asfora solicited and received from MDLLC, profit distributions based on Asfora's

 use of Samba products at SMC.

        221.   The below chart depicts the revenue and gross profits that MDLLC generated by

 selling Samba products to SMC from December 2012 to November 2013:


         amba Products

  Samba Screw                         $108.95 or less           $3,250.00         $3,141.05 or more
  Variable Drill Bit                     $189.50
  Packing Tube                           $46.50
  Long Blunt Steinmann Pin                $7.                     $70.00                $63.00
  Short Blunt Steinmann Pin               $5.00                  $49.00                 $44.00
  Sharp Steinmann Pin                     $4.50                  $210.00               $205.50

        222.   By selling Samba products for Asfora's surgeries at SMC, MDLLC received

returns of over 2,880% for Samba screws; over 4,560% for sharp Steinmann pins; 900% for long

 blunt Steinmann pins; 880% for short blunt Steinmann pins; 600% for packing tubes; and over

240% for variable drill bits.


       223.    The below chart depicts the revenue and gross profits that MDLLC generated by

selling Samba products to SFSH from December 2012 to September 2016:
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                                          MDLLC'sCostof           MDLLC's Sale        MDLLC's GrosT
         N.I III 11
                                        Goods Sold (Per Unit)     Price (Per Unit)   Profit(Per Unit)
  Samba Screw                              $108.95 or less           $3,500.00       $3,391.05 or more
  Variable Drill Bit                             $189.50              $940.00             $750.50
  Packing Tube                                   $46.50               $465.00             $418.50
  Long Blunt Steinmann Pin                        $7.00               $100.00              $93.00
  Short Blunt Steinmann Pin                      S5.00_                $70.00              $65.00
  Sharp Steinmann Pin                            $4.50                $100.00              $95.50

         224.         By selling Samba products to SFSH for Asfora's surgeries there, MDLLC received

 returns of over 3,100% for Samba screws; over 2,100% for sharp Steinmann pins; over 1,300%

 for long blunt Steinmann pins; 1,300% for short blunt Steinmann pins; 900% for packing tubes;

 and over 390% for variable drill bits.


        225.          For example, on or about             2013, Asfora implanted three Samba screws

 in patient                      (DOB         1946)at SMC,using three sharp Steinmann pins, one long

 blunt Steinmann pin, one short blunt Steinmann pin, and three drill bits. SMC billed Medicare for

the inpatient services and received a Medicare Part A payment of over $24,000. Asfora billed

 Medicare for his professional services and received a Medicare Part B payment of over $795.

SMC paid MDLLC over $12,470 for the Samba products used in the surgery.

        226.          On or about!            2013, Asfora implanted three additional Samba screws in

the same patient at SMC, using three sharp Steinmann pins, one long blunt Steinmann pin, one

short blunt Steinmann pin, three drill bits, and one packing tube. SMC billed Medicare for the

inpatient services and received a Medicare Part A payment of over $25,700. Asfora billed

Medicare for his professional services and received a Medicare Part B payment of over $795.

SMC paid MDLLC over $12,790 for the Samba products used in the surgery.

        227.          As another example, on or aboutl            2013, Asfora implanted three Samba

screws in patient                                   (DOB ^^H/1957) at SFSH, using three sharp

Steinmann pins, one long blunt Steinmann pin, one short blunt Steinmann pin, three drill bits, and
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 one packing tube. SFSH billed Medicare for the inpatient services and received a Medicare Part
 A payment of over $21,250. Asfora billed Medicare for his professional services and received a
 Medicare PartB payment ofover $795. SFSHpaidMDLLCover$14,250forthe Samba products
 used in the surgery.

        228. On or about^^^^|,2013, Asfora implanted two additional Samba screws in the
 same patient at SFSH, using three sharp Steinmann pins, one long blunt Steinmann pin, one short
 blunt Steinmann pin,three drill bits, and one packing tube. SFSH billed Medicare for the inpatient
 services and received a Medicare Part A payment of over $22,450. Asfora billed Medicare for his

 professional services and received a Medicare Part B payment of over $795. SFSH paid MDLLC
 over $10,750 for the Samba products used in the surgery.

        229. In early 2013,Asfora and MDLLC began discussions with medical device company
 Orthofix about entering into a license agreement relating to the Samba products. In May 2013,
two months after OIG's special fraud alert on PODs,Asfora described to Orthofix "[t]he reason I

 want to sell" the rights to Samba products. Asfora claimed the reason "is not financial," noting
that "there is great scrutiny of companies owned by physicians" and "I am just tired of all the BS

involved."


        230.   Asfora said he believed Orthofix would allow MDLLC to "sell directly to my

hospital if I am the user," and asked Orthofix "what would your offer be" if Orthofix sold to "my

hospitals (Sanford and Sioux Falls Specialty Hospital)." Asfora noted that MDLLC had "billed

For 50 SI joint fusions.this year so far" and approximately $12,000 "is billed per [SI fusion]

procedure including the implant and disposable pins and plunger for bone insertion."




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         231. In response, Orthofix warned Asfora on May 26,2013: "Ijust want to be very clear
  that we would not be able to pay you royalties for any devices you personally use. Our company
  policy is based on anti-kickback rules that govern these types of transactions."
         232. The next day. May 27, 2013, Asfora responded to Orthofix: "I agree fully and
 understand about inability to pay royalty for any product I use due to potential regulatory conflicts,
 and I certainly do not want to go down that path either."

         233. Effective August 27, 2013, Orthofix and MDLLC entered into exclusive license
 and distribution agreements, which Asfora signed on behalf of MDLLC.

        234. In the license agreement, MDLLC granted to Orthofix "an exclusive license to

 make, use, sell, offer for sale, import, export, and distribute" the Samba products. Orthofix agreed
 to pay MDLLC an initial fee of two million dollars, make a milestone payment after a certain
 amount of sales, and pay a royalty of six percent on certain sales. However, Orthofix reftised to
 pay MDLLC royalties on Orthofix's sales of Samba products for Asfora's use or to count such

 sales when determining whether the milestone had been met.

        235. The distribution agreement allowed Orthofix a ramp up period before it began
 distributing the Samba products. "During the ramp up period," the agreement allowed MDLLC
"to utilize any existing inventory in the course of conducting any surgical procedures scheduled
 by any owner or employee of[MDLLC]prior to the Effective Date up until Orthofix commences

 distribution." The distribution agreement also included an exhibit listing the cost of the Samba
products; those costs are listed in paragraphs 221 and 223, supra.
        236. On November 7, 2013, Orthofix employees attended surgery with Asfora at SMC
to mark the date when Orthofix commenced distribution ofthe Samba products. Orthofix notified
MDLLC and Asfora in writing that the surgery was "the first official Orthofix Samba screw case."


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  Two weeks later, an MDLLC consultant emailed Orthofix,copying Asfora,providing a quote from
 Asfora, on behalf of MDLLC,for Orthofix to use in a press release: "We are delighted to have
 the sales and marketing power of Orthofix behind the global distribution ofthe Samba Screw."
         237. Less than a year later, in late September 2014, MDLLC and Asfora sought to
 renegotiate the Orthofix agreements to allow MDLLC to distribute the Samba products for,
 Asfora's use. MDLLC and Asfora made this request so that they, rather than Orthofix, could
 capture the profits from Asfora's use ofthe Samba products. On October 7, 2014, Orthofix again
 confirmed to Asfora in writing that "Orthofix is not willing to authorize [MDLLC] to distribute
 the Samba Screw.System."

        238. Despite the rejection, MDLLC and Asfora continued to complain to Orthofix about
 low royalty payments for Samba,noting in May 2015 that they had "no hope" that Orthofix would
 be successful. MDLLC and Asfora continued to ask Orthofix to "allow[MDLLC]to also promote
 and sell the Samba," and Orthofix continued to deny their requests.

        239.   For example, on May 16, 2015, Asfora asked Orthofix's CEO to allow MDLLC to

"take overjust my practice." Asfora explained, "[t]he way I am proposing I am also motivated to
 market my own practice and do more SIjoint fusions."

        240.   Orthofix's CEO responded on the same day, warning Asfora: "Regarding your

proposal, I will be very direct with you on this. It is illegal." Orthofix's CEO advised Asfora,

"you will have a compliance issue selling Samba to your hospital whether you get a royalty or not.
You need to be very careful and become educated about all the compliance laws that apply to you."

       241. Despite this warning, MDLLC and Asfora continued to complain to Orthofix's

CEO about the amount of royalties paid by Orthofix and continued to propose that MDLLC sell

the Samba products. For example, in August 2015,Asfora told Orthofix's CEO that ",[t]he royalty


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 check that Ijust received express[es] how poorly Orthofix has done," and Asfora offered to "buy
 all your inventory" of Samba products.

        242. In October 2015,MDLLC and Asfora again proposed to Orthofix to allow MDLLC

 to distribute the Samba products. Orthofix again rejected the request, stating on October 26,2015:

"It does not work for Orthofix under any circumstances to have [MDLLC] sell the products

 directly."

        243.   In December 2015, MDLLC and Asfora again told Orthofix's CEO,"we should

negotiate the Samba back to [MDLLC]." Orthofix continued to reject the requests.

        244.   Orthofix's repeated rejections and warnings did not deter MDLLC and Asfora from

their plan to profit from Asfora's use of the Samba products. From November 2013 through

January 2017, MDLLC sold the Samba products to SFSH for Asfora's use. From October 2016

through April 2017,MDLLC sold the Samba(and Bullet Cage)products at aproifit to IMS to resell

to SFSH for Asfora's use. After November 7, 2013, MDLLC received over $500,000 from its

direct and indirect sales of Samba products to SFSH and distributed profits from such sales to

Asfora and his wife.


        245.   MDLLC's sales of the Samba products to SFSH after November 7, 2013 violated

MDLLC's agreements with Orthofix. Neither MDLLC nor Asfora ever disclosed such sales to

Orthofix. Asfora and MDLLC hid from Orthofix each Samba sale by MDLLC after November 7,

2013 because they knew that Orthofix, ifinformed ofthe sales, would prevent MDLLC and Asfora

from profiting from Asfora's use of the Samba products.                    ^

        246. For example, on or about m|,2014, Asfora implanted three Bullet Cages,

three Samba screws, four Aegis pedicle screws, four Aegis set screws, and one Aegis curved rod

in patient                 (DOB ^^|/1953) at SFSH, using three sharp Steinmann pins, one


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 long blunt Steinmann pin, one short blunt Steinmann pin, three drill bits, and one packing tube.
 SFSH billed TRICARE for the inpatient services and received a TRICARE payment of over
 $29,100. Asfora billed TRICARE for his professional services and received a payment of over
 $6,800. For the products used in the surgery, MDLLC received $12,000 for the Bullet Cages,over
 $14,250 for the Samba products, and over $2,250 for the Aegis products, for a total of over
 $28,500.

        247. On or about^|^^m|2014, Asfora implanted three additional Samba screws

 in the same patient at SFSH, using three sharp Steinmann pins, one long blunt Steinmann pin, one

 short blunt Steinmanh pin, three drill bits, and one packing tube. SFSH billed TRICARE for the

 inpatient services and received a TRICARE payment of over $11,370. Asfora billed TRICARE

for his professional services and received a payment of over $1,500. SFSH paid MDLLC over

$14,250 for the Samba products used in the surgery.

        248.   As another example, on or about              2016, Asfora implanted five Samba

screws in patient               (DOB       1963) at SFSH,using three sharp Steinmann pins, one

long blunt Steinmann pin, one short blunt Steinmann pin, three drill bits, and one packing tube.

SFSH billed Medicare for the inpatient services and received a Medicare Part A payment of over

$9,050. Asfora billed Medicare for his professional services and received a Medicare Part B

payment of over $800. SFSH paid MDLLC over $21,250 for the Samba products used in the

surgery.


        249. As another example, on or about^^^ 2016, Asfora implanted six Samba screws
in patient              (DOB ^J/1976) at SFSH, using three sharp Steinmann pins, one long

blunt Steinmann pin, one short blunt Steinmann pin, three drill bits, and one packing tube. SFSH

billed Medicare for the inpatient services and received a Medicare Part A payment of over $9,050.



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  Asfora billed Medicare for his professional services and received a Medicare Part- B payment of
 over $780. SFSH paid MDLLC over $24,750 for the Samba products that Asfora implanted in the
 surgery.


         250. From November 2013 through April 2017,including in the representative examples
 above,there was no difference between the Samba products that Asfora used (from MDLLC)and
 the Samba products sold by the exclusive distributor (Orthofix). However, there was a difference
 in who would profit from Asfora's use of those products. In order to profit from his device use,
 Asfora chose to use in his surgeries at SFSH the Samba products distributed by MDLLC.
        F.      Sicage Products

        251. In addition to covertly selling Samba products to SFSH to profit on Asfora's use of
 those products, MDLLC and Asfora developed a plan to profit from Asfora's use of SI screw

 products at Sanford.

        252. To hide the true nature of their conduct from Sanford and Orthofix, Asfora and

MDLLC employees created a new company—Sicage—and used that company to sell to Sanford
for Asfora's use the Sicage screw system, which included the Sicage screw, Steinmann pins, drill

 bits, and packing tube (collectively, Sicage products).

        253.    The Sicage screw was substantially equivalent to the Samba screw. Aware that

MDLLC had represented to the FDA in 2012 that the Samba screw was equivalent to the Synthes

6.5mm cannulated screw, Sicage represented to the FDA in 2017 that the Sicage screw was

equivalent to the same Synthes screw.

        254.    MDLLC and Sicage had the same employees, same physician-owner, and were

operated out of the same street address, in. neighboring suites. MDLLC previously occupied

Sicage's suite, and both MDLLC's and Sicage's suites were rented from an Asfora-owned entity.


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         255. In communications with colleagues, Asfora admitted his plan for Sicage. In an
  email with one colleague, for example, Asfora complained that Orthofix was manufacturing its
 own Samba devices and "will not buy the Samba"from MDLLC. Noting that "I am not going to
 lose all the Samba" in MDLLC's inventory, Asfora told his colleague, "let's do business with
 [MDLLC]for now, a reference to MDLLC's covert sales of Samba products in violation of the
 Orthofix agreements. For the future, Asfora told his colleague that "all contracts will be with the
 Sicage company." Asfora warned his colleague to "[kjeep it as quiet as possible."
        256. Further, in an email to a Sanford employee who was assisting with Sicage, Asfora
 referenced their Sicage work and stated that "ifthis is successful we [will] all be rich and famous
 although I am only interested in the former and not that much."

        257. From January 2018 to December 2018, Sicage offered to Asfora, and Asfora
 solicited from Sicage, profit distributions based on Asfora's use of Sicage products at SMC. For
 Asfora's surgeries using Sicage products, SMC paid Sicage $3,250 per Sicage screw,,$595 per
 drill bit, $630 per packing tube, $84 per long blunt Steinmann pin,$70 per short blunt Steinmann
 pin, and $53 per sharp Steinmann pin.

        258. For example, on or about                        2018, Asfora implanted three Sicage
screws in patient                      (DOB          1943) at SMC, using one long blunt Steinmann
pin, one packing tube, and three drill bits. SMC billed Medicare and TRICARE for the inpatient
services and received a Medicare Part A payment of over $25,250 and a TRICARE payment of
over $1,300. Asfora billed Medicare and TRICARE for his professional services and received a

Medicare Part B payment of over $500 and a TRICARE payment of over $125. SMC paid Sicage
over $12,200 for the Sicage products Asfora used in the surgery.




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           259. Less thanU days later, Asfora implanted six additional Sicage screws in the same
 patient at SMC, using six drill bits and two packing tubes. SMC billed Medicare and TRICARE
 for the inpatient services and received a Medicare Part A payment ofover $25,800 and a TRICARE
 payment of over $1,300. Asfora billed Medicare and TRICARE for his professional services and
 received a Medicare Part B payment of over $500 and a TRICARE payment of over $125. SMC
 paid Sicage over $24,300 for the Sicage products used in the surgery.
          260. As another example, on or about                      2018, Asfora implanted eight
 Sicage screws in patient                             (DOB H|/1980) at SMC, using two sharp
 Steinmann pins, two drill bits, and two packing tubes. SMC billed Medicaid for the inpatient
 services and received a Medicaid payment of over $21,700. SMC paid Sicage over $28,500 for
,the Sicage products Asfora used in the surgery.        ■

 11.      ADDITIONAL WARNINGS TO ASFORA OF UNNECESSARY PROCEDURES

          A.      Sanford Warned Asfora that He Was a High-Rlsk Physician

          261.    After receiving an unusually high number of patient complaints about Asfora

 compared to his peers, Sanford warned Asfora that his practice was riskier than that of his peers.

          262.    Since at least 2008, Sanford Health used Vanderbilt University's Patient Advocacy

Reporting System (PARS) to systematically identify patterns of patient dissatisfaction. Patient

dissatisfaction, Sanford Health advised Asfora, "undermines patient adherence with medical

treatment plans, outcomes of care, and patients' willingness to stay with a practice." As part of

the PARS program, Vanderbilt calculated risk scores for every Sanford Clinic physician,including

Asfora, and compared them to local and national peer group scores.

         - 263.   Each reporting year, Sanford provided Asfora with a report summarizing his PARS

risk score, explaining the PARS methodology, and attaching documentation supporting his risk

score.



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        264. Not-only was Asfora a high-risk physician when Sanford began the PARS program,
 Asfora s risk score more than doubled from 2008 to 2017. As Asfora expanded his use ofproducts
 in which he had a financial interest, patient complaints about him soared,putting him in the riskiest
 category measured by the national PARS data.

        265. In October 2012, Sanford informed Asfora that of the 5,500+ surgeons in the
 national PARS database, Asfora's "risk score stood out within the highest tier; specifically, it was

 higher than that of 90% of all surgeons in the national PARS database." From August 2008 to

 August 2012, Asfora's "Risk Score of 60 [was] within top 3% of All Physicians and #33 of 294

 Neurosurgeons in the National PARS database."

        266.    In October 2013, Sanford informed Asfora that from August 2009 to August 2013,

 his "Risk Score of92[was] within top 1% of All Physicians and #14 of336 Neurosurgeons in the

 National PARS Database."


        267.   In November 2014, Sanford advised Asfora that from August 2010 to August 2014,

 his "Risk Score of 108 [was] within top 0.5% of All Physicians" and "#12 of270 Neurosurgeons"

 in the National PARS Database.


        268.   In October 2015, Sanford advised Asfora that from August 2011 to August 2015,

 his "Risk Score of 118 [was] within top 0.5% of All Physici^s" and "#7 of279 Neurosurgeons"

 in the National PARS Database.


        269.   In October 2016, Sanford told Asfora that from August 2012 to August 2016, his

"Risk Score of 129 [was] within top 0.5% of All Physicians" and "#5 of 310 Neurosurgeons" in

the National PARS Database.




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         270. In September 2017, Sanford told Asfora that from July 2016 to June-2017, his risk
 score of 102 was within the top 0.5% of all physicians and "#6 of 378 Neurosurgeons" in the
 National PARS Database.

        271. Despite Asfora's very high risk score, Asfora did not change his clinical practice.

 Rather, during that period, Asfora participated in new kickback schemes and continued to submit,

 and cause the Hospitals to submit, claims for the resulting services to federal healthcare programs.

        B.      Sanford Surgical Committee Warned Asfora of Excessive Fusion

        272.    In          2011, Asfora performed a five-level fusion at SMC, implanting in the

 patient five Bullet Cages, for which SMC paid MDLLC over $19,000. The patient subsequently

 suffered paraparesis (partial paralysis of the lower limbs).

        273. In^^^|^|2011,Asfora's surgery was referred to Sanford Health's Surgery Case
 Review committee to review. In             2012, at least eight Sanford Clinic physicians,including

 two neurosurgeons, met to review the surgery.          After reviewing the medical records and

 considering Asfora's explanation for the surgery, Sanford Health's Surgery Case Review

 committee concluded that the patient's "paraparesis ofboth lower limbs" was "related to thfe length

 ofthe surgery" and that"this was an aggressive procedure in this situation." The committee found

that Asfora had "vari[ed] from accepted standard of care" by "subjecting the patient to an

extremely lengthy complex procedure when a shorter procedure could have been used." The

committee then requested that Sanford Health review "extensive surgical procedures (adult multi

level)" at SMC.

        274.    By letter, Sanford Health informed Asfora ofthe committee's findings, writing that

the committee had "assigned a Category III Standard of Care" to the procedure, based on

"subjecting the patient to an extremely complex procedure which may have been managed more



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 conservatively." Sanford advised Asfora that it believed his procedure was a "variation in standard
 of care."


 'C.              Sanford External Peer Reviewer Warned of Asfora's Excessive Fusion
         275. As requested by its Surgery Case Review committee, Sanford. Health began a
 review,of Asfora's multi-level spinal procedures. Sanford Health retained the American Medical

 Foundation for Peer Review(AMP)to provide "an outside unbiased review"ofAsfora's surgeries.
 In September 2013, Sanford Health sent to AMF the medical records for one patient;
             (DOB|^(/1955),on whom Asfora had performed a four-level cervical discectomy and
 fusion at SMC on or about             2012. Sanford Health asked AMF to provide "a written
 summary report" of"whether or not the patient's management met current standard of care based

 upon your reviewer's expert clinical opinion." Sanford Health explained to AMF that "the nature

 of the concern relates to surgical indication for the performance of multi-level spine procedures"

 by "one provider [Asfora]."

        276.     On or about December 3, 2013, Sanford Health received the independent peer

 review report of Asfora's surgery on patient^^^^. Sanford shared the report with Asfora.
        277.     The reviewer, a board-certified member of the American Board of Neurological

 Surgeons and professor ofneurological and orthopedic surgery,reported that the patient"presented

 with no signs or symptoms of neurologic dysfunction and had a normal EMG with no evidence of

 myelopathy."

        278.     The reviewer stated that he was "unsure why Dr. Asfora proceeded with multiple-

 level discectomy, in that the clear pathology based on her imaging studies are at the C5-C6 and

 C6—C7 levels." The two additional levels on which 'Asfora performed surgery, the reviewer

 explained,"go against conventional neurosurgical teaching and practice."


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         279. The reviewer warned that Asfora had "treated quite aggressively" the patient.
 Because there was"no evidence ofmyelopathy or neurologic dysfunction," many surgeons would
 not have performed any spinal fusion surgery on the patient Even if surgical intervention was
 contemplated,then based on the patient's"imaging and clinical symptomatology," Asfora's fusion
 oftwo additional spinal levels was "excessive."

        280. The reviewer warned that such excessive spinal fusion surgeries could—and in this
 case did—cause patient harm. The reviewer explained that Asfora's surgery was "particularly
 troublesome in that surgical treatment at the superior levels of the spine often lead to increasing
 swallowing dysfunctions as was witnessed in this patient," Asfora's additional, excessive levels
 of spinal fusion also caused an "increase in operative time as well as loss of range of motion,"
 which the reviewer found "does not seem to be justified."
        281. Asfora used a Life Spine cervical plate in the four-level spinal fusion ofthis patient.
 At the tinie ofthe patient's surgery in^|2012,Asfora believed that MDLLC would be reselling
 at a profit such Life Spine products to Sanford Health. MDLLC had billed Sanford Health for Life

 Spine cervical platesjust^^ days before the patient's surgery! Only after the patient's procedure
 did MDLLC learn that Sanford Health would not pay MDLLC for the Life Spine products.

        D.     Second Sanford External Peer Reviewer Warned of Asfora's Excessive
               Fusions


        282.   On December 9,2014,a Sanford Clinic physician submitted to Sanford Health and

SMC a written review of Asfora's                 2014 surgery on patient                    (DOB

^^(/1942),a.Medicare beneficiaiy. The reviewing physician noted that Asfora had performed a
"[wjrong site surgery," which Asfora had "[f]ail[ed] to identify" during the surgeiy, and which

Asfora had "[f]ail[ed] to document correctly [after being] notified of[the] wrong site surgery by

[a] colleague." Asfora had implanted numerous Aegis products in this surgery.

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        283. No defendant disclosed to any federal healthcare program that a Sanford Clinic

 physician had determined in December 2014 that Asfora had performed a "wrong site surgery" or
 otherwise performed more extensive surgery on              than was medically necessary. Indeed,
 no defendant disclosed to any federal healthcare program the Sanford Clinic physician's December

 2014 written review, any portion of the review, or. any finding or conclusion in the review.

        284.    About six months later, a Sanford Clinic physician submitted another review to

 Sanford Health and SMC for Asfora's surgery on patient                 (DOB m 1952). Asfora
 had performed the surgery on or about                   2014 at SMC. The physician noted that

 Asfora had performed another "wrong site surgery"—"2nd time in 6 mo[nths] for this provider."

 Asfora had implanted numerous Aegis products in this surgery.

        285.    On or about September 2, 2015, Sanford Health sent the medical records for

Asfora's^^m and^H surgeries to AMF for an independent external review of"whether or
not the patient's management met current standard of care based upon your reviewers' expert

clinical opinion." Less than a month later, Sanford Health received the external peer review report

from AMF for the two procedures. Again, Sanford Health shared the report with,Asfora.

       ,286.   The independent review of the two cases was conducted by a board-certified

member of the American Board of Neurological Surgeons and professor of neurosurgery and

orthopaedics. The first case concerned a three-level anterior cervical discectomy and fusion

(ACDF) that Asfora performed on patient              The reviewer concluded that a "single level"

fusion "would be a reasonable and common recommendation" for the patient. Although the

reviewer noted that many spine surgeons would include a second level in the spinal fusion surgery,

the third level—which Asfora also included—was "near normal on MRJ."                 The reviewer

concluded,"[i]t is unclear to me why the third level was added," and Asfora documented no reason



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 to support fusing the tlhrd level "other than he decided to add the level and he obtained consent
 from the wife."

        .287. The second case described in the reviewer's September 2015 report concerned a
 four-level ACDF diat Asfora performed on patient^^^| After reviewing the medical records,
 the reviewer concluded that"[a]ll imaging findings are age appropriate"for a patient overUyears
 old. Nevertheless, Asfora chose to perform a four-level fusion on the patient. As the reviewer
 noted,. "[f]our-level ACDF are rare surgeries performed in a patient without spinal cord
 compression at all fusion levels." The patient, the reviewer explained,"had mostly neck pain and
 arm pain which could have been addressed withTewer levels included in the surgery."
        288. In the surgery, "several screws [were] placed suboptimally" by Asfora. Further,
 Asfora did "not document[] in any of the paperwork associated with surgery or post-op care" why
 he had extended the fusion into the upper thoracic spine. Such fusions, the reviewer noted, "can
 be dangerous" and "rarely" are performed, particularly in "degenerative spine cases" like patient
           In conclusion, the reviewer warned: "In an academic medical center with peer review
from other spine surgeons, such a case would qualify for a morbidity and mortality discussion."

        289. In or about|^^m 2014,SMC submitted a claim to Medicare Part A for patient
            surgery, and Asfora submitted a claim to Medicare Part B for his professional services

in the surgery. Medicare paid SMC over $13,300 for its Part A claim, and Medicare paid Asfora

over $2,750 for his Part B claim.

        290.   No defendant disclosed to any federal healthcare program that an extern^

independent reviewer had determined in September 2015 that Asfora had performed a more
extensive surgery on           than was medically necessary. Indeed, no defendant disclosed to




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 any federal healthcare program the independent external reviewer's September 2015 report, any
 portion of the report, or any finding or conclusion in the report.
 III.    DEFENDANTS' ADDITIONAL FALSE STATEMENTS TO SANFORD

         291. From 2013 to 2018, Sanford Health required Asfora to submit completed conflict

 of interest forms on at least an annual basis. Before submitting the forms, Asfora was required to

 acknowledge that he had "read and underst[oo]d the [Sanford] Financiial Conflicts of Interest

 Policy." That policy required certain employees such as Asfora to disclose specified financial

 interests "[a]t least annually" and "within 30 days of discovering or acquiring ... a new conflict

 of interest." With respect to privately-held entities like MDLLC and Sicage, Sanford advised

 Asfora that "a significant financial interest exists if the value of any remuneration received from

 the entity in the twelve months preceding tlie disclosure, when aggregated, exceeds $5,000, or

 when the [physician](or the [physician's] spouse or dependent children) holds any equity interest"

 in such entity.

        292.       The conflict of interest forms required Asfora to disclose to Sanford certain

financial relationships. To make clear that Sanford was relying on the accuracy of Asfora's

responses, the forms required Asfora to certify that "the information provided is to the best of my

 knowledge true and complete and does not misstate any facts."

        293.       Each year from 2013 to 2018, Asfora submitted such conflict of interest forms to

 Sanford, sometimes multiple times per year. In each such submission, Asfora misrepresented his

financial arrangements with MDLLC,Sicage, or both.

        294.       On or about August 13, 2013, Asfora submitted a conflict of interest form to

 Sanford. That form advised Asfora, in bold text,"You need to disclose any financial relationship

 with an external company or organization where you or an immediate family member received

remuneration or if you hold equity in said company." Asfora listed MDLLC on the form, but

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     represented that the "total value" ofhis and his wife's equity interests in the company was "$0.00."

     Asfora affirmed that "the information provided is to the best of my knowledge true and complete
     and does not misstate any facts." Asfora submitted additional conflict ofinterest forms on or about

     February 9, 2015 and June 28, 2015, confirming the above-referenced answers and affirmation

     contained in the August 13, 2013 submission.

             295.   On or about February 10, 2014, Asfora-submitted another conflict of interest form
o
     to Sanford. Again,that form advised Asfora,"You need to disclose any financial relationship with

     an external company or organization where you or an immediate family member received

     remuneration or if you hold equity in said company." Asfora listed MDLLC on the form, but

     represented that the "total value" ofhis and his wife's equity interests in the company was "$0.00."

     With respect to the Samba products, Asfora represented to Sanford that his contract with Orthofix

    "specifically states that I an [sic] not to receive any compensation for any SambaScrew which I

     might utilize," and Asfora confirmed, "I do not receive compensation for any SambaScrews

     utilized in my medical practice." Asfora affirmed that "the information provided is to the best of
                                                                                           /




     my knowledge true and complete and does not misstate any facts." Asfora submitted additional

     conflict of interest forms on or about November 4, 2015, June 2, 2016, June 6, 2017, October 5,

    2017, June 10,2018, and May 15, 2019 confirming the above-referenced answers and affirmation

    contained in the February 10, 2014 submission.

            296.    From 2013 through 2018, Asfora failed to disclose to Sanford in his conflict of

     interest submissions both the amounts of money that MDLLC paid Asfora and his wife and

     Asfora's equity interest in Sicage. See, e.g., supra T[ 142.     ^




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 IV.     MDLLC'S AND SICAGE'S ADDITIONAL FALSE STATEMENTS TO THE
         UNITED STATES

         A.      Congress Required Applicable Manufacturers to Disclose Information to HHS
                on Physician Ownership and Payments

         297. Concerned thatphysicians'treatment decisions could be affected by their financial
 interests. Congress enacted in 2010 a national disclosure program relating to such financial
 interests. 42 U.S.C. § 1320a-7h. Initially, it was referred to as'the Physician Payment Sunshine
 Act(or Sunshine Act), but the disclosure program is now known as the Open Payments program.
        298. All manufacturers operating in the United States and "engaged in the production,
 preparation, propagation, compounding, or conversion of a covered drug, device, biological, or
                             t



 medical supply" must report certain information about physician payments and ownership
 interests. 42 U.S.C. § 1320a-7h(e)(9). As HHS has indicated, "an entity that holds an FDA
 approval, licensure, or clearance for a covered product" is "clearly 'engaged in the production,
 preparation, propagation, compounding,or conversion' of a covered product." 78 Fed. Reg. 9458,

 9462(Feb. 8,2013). Likewise, entities "that hold the title to a covered drug, device; biological or

 medical supply meet the definition of an applicable manufacturer." Id, at 9461.

        299. Pursuant to the Open Payments program, "any applicable manufacturer that

 provides a payment or other transfer of value" to a physician is required to report to HHS

 information about the payment or transfer, unless a reporting exclusion applies. 42 U.S.C.

§ 1320a-7h(a)(l)(A). For each qualifying payment or other transfer of value to a physician, an

 applicable manufacturer must report to HHS,among other things, the physician's name, business

address, specialty, and National Provider Identifier (NPI); the amount of the payment or transfer;

the date(s) on which the payment or transfer was provided; and descriptions ofthe form and nature

of the payment or transfer. Id.



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        300. In addition, applicable manufacturers are required to report to HH^ information
 about"any ownership or investment interest" in the manufacturer held by a-physician or immediate
 family member, including a spouse, except for certain interests in publicly-traded security and
 mutual funds. 42 U.S.C. § 1320a-7h(a)(2). An applicable manufacturer must report to HHS,
^ong other things, the physician's name, business address, specialty, and NPI; the dollar amount

 invested by the physician; the value and terms of each ownership or investment interest; and any
 payment or other transfer of value provided to a physician holding such interest. Id.

        301.    Applicable manufacturers are required to report the specified information on the

90th day of each calendar year, for payments and ownership interests in the preceding calendar
                                                     I



year. 42 U.S.C. .§ I320a-7h(a)(l)(A). The first reporting deadline was March 31, 2014, for

calendar year 2013. 42 C.F.R. § 403.908(a).

        302.   Under,the Open Payments program, HHS makes certain information about the

payments and ownership interests available to the publie through a searchable website. 42 U.S.C.

§ 1320a-7h(c)(l)(C); see also https://www.cms.gov/openpayments (last visited Nov. 13,2019).

        303.   Applicable manufacturers are subject to civil monetary penalties for failing to

timely submit information required by the Open-Payments program, and are subject to additional

penalties for knowing (including reckless) failures to timely submit required information. 42

U.S.C. § 1320a-7h(b)(l)-(2). For violations occurring on or before November 1, 2015, civil

penalties of up to $1,000,000 may be imposed for knowing violations, and an additional $150,000

per year may be imposed regardless of whether the failure was knowing. Id. For violations

occurring after November 1,2015,civil penalties ofup to $1,127,799 may be imposed for knowing

violations, and an additional $169,170 per year may be imposed regardless of whether the failure

wasknowing. 83Fed.Reg.51,369,51,379(Oct. 11,2018).



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         B.           MDLLC and Sicage Failed to Bisclose Required Information to HHS on
                      Physician Ownership and Payments

         304. From 2013 through 2018,MDLLC was operating in the United States, had received
 FDA clearance for medical devices, including the Bullet Cage device, and held title to and
 distributed that device. MDLLC never has been publicly traded.
         305. For calendar years 2013 through 2018, MDLLC failed to disclose to HHS any
 physician payments or ownership interests by the required deadlines. By the March 31, 2018
 deadline for the 2017 calendar year submission, MDLLC had not even registered to submit the
              ;



 required information to HHS, much less submitted any such information to HHS. Although
 MDLLC registered with HHS in September 2018 to submit information required by the Open
 Payment program, MDLLC did not submit any such information by the March 31, 2019 deadline

 for the 2018 calendar year.

        306. From 2017 to 2018, Sicage was operating in the United States, had received FDA

 clearance for the Sicage device, and held title to and distributed that device. Sicage never has been
 publicly traded.

        307. For calendar years 2017 and 2018, Sicage failed to disclose to HHS any physician
 payments or ownership interests by the required deadlines. By the March 31, 2019 deadline for

 the 2018 calendar year submission, Sicage had not even registered to submit the required

 information to HHS, much less submitted any such information to HHS.

        308., On April 17,2019, MDLLC was served with a civil investigative demand from the

 United States Department ofJustice, seeking, among other things, interrogatory answers regarding
"each physician and spouse of a physician who has held an investment or ownership interest in

[MDLLC]" and MDLLC's "payments of money or other items of value directly or indirectly to

the physician or spouse." One week later, MDLLC reported to the Open Payments program certain

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  information about Asfora's and his wife's ownership interests in MDLLC. However, in that and
  later Open Payments reporting, MDLLC did not disclose any ofits payments or transfers of value
 to Asfora, even though MDLLC paid Asfora hundreds ofthousands of dollars from 2013 to 2018.
 See, e.g., supra ^ 142. Sicage also did not disclose to the Open Payments program any ownership
 interest by Asfora.

         C.     MDLLC and Sicage Knowingly Failed to Disclose the Required Information
                toHHS


        309. In late July 2013, before reporting began in the first year of the Open Payments
 program, an MDLLC employee, Kelly Spielman, asked an outside vendor for "any examples of a
 Form that Lifespine or Orthofix might use to keep track of physician payments." Spielman
 admitted: "We need to have some kind of procedure and form for tracking this information in

 compliance with the Sunshine Act."

        310.   The following month, Sanford reminded Asfora by email about "federal

 compliance and the new 'Sunshine Act.'" Asfora responded to the email on the day it was sent,
 acknowledging receipt.

        311.   The same month, the Congress of Neurological Surgeons(CNS) emailed Asfora,

 advising him that "Sunshine Act reporting has begun." CNS further noted: "Under the Sunshine

 Act, manufacturers of drugs, medical devices, and biologies must submit annual reports to the

 CMS outlining certain payments and items ofvalue given to physicians and teaching hospitals. In

 addition, manufacturers and group purchasing organizations(GPOs)must report certain ownership

interests held by physicians and their immediate family members. Reportable transactions include

direct and indirect payments and transfers of value, as well as payments and transfers of value that

are made to a third-party at the request of or on behalf of a physician."



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         312. Spielman testified that she and Kristi Vondra, MDLLC's VP of Operations, had
 drafted a standard operating procedure (SOP)to comply with the Sunshine Act. In order for an
 SOP regarding the Sunshine Act to be put into place at MDLLC,Asfora would have had to approve
 it. That SOP, however, was not approved. ^

        313. In 2016/SFSH notified Asfora in writing that he should "be aware that under the

 Physician Payments Sunshine Act, all payments or transfers of value that exceed $10 (or that
 exceed $100 in annual aggregate) made by a Vendor or manufacturer of a medical drug, device,
 piece of equipment, or other product to a physician must be reported." Asfora signed and dated

 the document in June 2016 and provided it to the hospital.

        314. Despite their knowledge of the Open Payments program and its reporting

 requirements, MDLLC and Sicage—as well as Asfora (an owner of MDLLC and Sicage) and

 Vondra and Spielman (MDLLC's and Sicage's only employees from 2013 to 2018)—did not

 report to the Open Payments program any payments from MDLLC or Sicage to Asfora, and did

 not timely report Asfora's ownership interests in those cornpanies.

                                            COUNTI
                                (Against Asfora and MDLLC)
                          False Claims Act,31 U.S.C.§ 3729(a)(1)(A)
               Presenting and Causing False Claims to Be Presented for Payment

        315.    The United States incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        316.    Asfora knowingly submitted, and knowingly caused the Hospitals to submit, claims

for payment to Mediate, Medicaid, and TRJCARE for surgeries and related services that were

false or fraudulent, and not payable, because Asfora knowingly and willfully solicited and received

remuneration in violation of the AKS to induce him to order, arrange for, and recommend the




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 purchase of MDLLC, Life Spine, Aegis, and Samba products for which payment was made in
 whole or in part by Medicare, Medicaid, and TRICARE.

        317. MDLLC knowingly caused Asfora, SMC,and SFSH to submit claims for payment
 to Medicare, Medicaid, and TRICARE for surgeries and related services that were false or

 fraudulent, and not payable, because MDLLC knowingly and willfully offered and paid
 remuneration to Asfora in violation of the AKS to induce Asfora to order, arrange for, and
 recommend the purchase of MDLLC,Life Spine, Aegis, and Samba products for which payment
 was made in whole or in part by Medicare, Medicaid, and TRICARE.

        318. In addition to and independent of the above-referenced AKS violations, Asfora

 knowingly submitted, Asfora caused the Hospitals to submit, and MDLLC caused Asfora, SMC,
 and SFSH to submit claims for payment to Medicare, Medicaid, and TRICARE that were not

 payable, and were false and fraudulent because certain of Asfora's spinal surgeries and related

 professional services using MDLLC,Life Spine, Aegis, and Samba products were not medically
 necessary or were more extensive than necessary. Asfora and MDLLC knew that MDLLC's

 payments to Asfora caused Asfora to perform, and Asfora and the Hospitals to submit claims to

 Medicare, Medicaid, and TRICARE for, surgeries and related services using MDLLC,Life Spine,
 Aegis, and Samba products that were not medically necessary or were more extensive than was

 necessary.


        319. By virtue ofthese false or fraudulent claims,the United States suffered damages in

an amount to be determined at trial.




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                                            COUNT 11
                                   (Against Asfora and Sicage)
                            False Claims Act,31 U.S.C.§ 3729(a)(1)(A)
               Presenting and Causing False Claims to Be Presented for Payment
         320. The United States incorporates by reference each ofthe preceding paragraphs as if
 fully set forth in this paragraph.

         321. Asfora submitted, and knowingly caused SMC to submit, claims for payment to
 Medicare, Medicaid,and TRICARE for surgeries and related services that were false or fraudulent,
 and not payable, because Asfora knowingly and willfully solicited and/or received remuneration

 in violation ofthe AKS to induce him to order, arrange for, and recommend the purchase ofSicage
 products for which payment was made in whole or in part by Medicare, Medicaid, and TRICARE.

      . 322. Sicage knowingly caused Asfora and SMC to submit claims for payment to

 Medicare, Medicaid, and TRICARE for surgeries and related services that were false or fraudulent,

 and not payable, because Sicage knowingly and willfully offered and/or paid remuneration to
 Asfora in violation ofthe AKS to induce Asfora to order, arrange for, and recommend the purchase
 of Sicage products for which payment was made in whole or in part by Medicare, Medicaid, and

TRICARE.


        323.    In addition to and independent of the above-referenced AKS violations, Asfora

 knowingly submitted, Asfora caused SMC to submit, and Sicage caused Asfora and SMC to

submit claims for payment to Medicare, Medicaid,and TRICARE that were not payable, and were

false and fraudulent because certain of Asfora's spinal surgeries and related professional services

using Sicage products were not medically necessary or were more extensive than necessary.

Asfora and Sicage knew that the payments Asfora solicited from Sicage caused Asfora to perform,
           /




and Asfora and SMC to.submit claims to Medicare, Medicaid, and TRICARE for, surgeries and



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 rdated services using Sicage products that were not medically necessary or were more extensive
 than was necessary.

         324. By virtue of these false or fraudulent claims, the United States suffered damages in

 an amount to be determined at trial.


                                             COUNT III
                                  (Against Asfora and MDLLC)
                            False Claims Act,31 U.S.C.§ 3729(a)(1)(B)
                                        Use of False Statements

         325.    The United States incorporates by reference each ofthe preceding paragraphs as if

 fully set forth in this paragraph.

         326.   During the relevant time period, Asfora and MDLLC knowingly made or used, or

 caused to be made or used, false records or statements material to false or fraudulent claims

 submitted to the United States, and payment ofthose false or fraudulent claims by the United States

 was a reasonable and foreseeable consequence of Asfora's and MDLLC's statements and actions.

        327.    These false records and statements included false certifications on provider

 enrollment forms and false and misleading representations on claim forms that the claims to

 Medicare, Medicaid, and TRJCARE for Asfora's spinal surgeries using MDLLC, Life Spine,

 Aegis, and Samba products complied with the AKS and were for medically necessary services,

 when in fact those claims violated the AKS and/or were for medically unnecessary services.

        328.    Asfora and MDLLC made or used, or caused to be made or used, such false records

or statements with actual knowledge of their falsity, or with reckless disregard or deliberate

ignorance of whether or not they were false.          .

        329.    By virtue ofthese false or fraudulent claims, the United States suffered damages in

an amount to be determined at trial.




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                                              COUNT IV
                                      (Against Asfora and Sicage)
                            False Claims Act, 31 U.S.C.§ 3729(a)(1)(B)
                                        Use of False Statements

         330. The United States incorporates by reference each ofthe preceding paragraphs as if
 fully set forth in this paragraph.

        331. During the relevant time period, Asfora and Sicage Icnowingly made or used, or
 caused to be made or used, false records or statements material to false or fraudulent claims

 submitted to the United States, and payment ofthose false or fraudulent claims by the United States
 was a reasonable and foreseeable consequence of Asfora's and Sicage's statements and actions.

        332. These false records and statements included false certifications on provider
 enrollment forms and false and misleading representations on claim forms that the claims to

 Medicare, Medicaid, and TRICARE for Asfora's spinal surgeries using Sicage products complied
 with the AKS and were for medically necessary services, when in fact those claims violated the

 AKS and/or were for medically unnecessary services.

        333. Asfora and Sicage made or used, or caused to be made or used, such false records
or statements with actual knowledge of their falsity, or with reckless disregard or deliberate

ignorance of whether or not they were false.

        334. By virtue of these false or fraudulent claims, the United States suffered damages in

an amount to be determined at trial.


                                             COUNT V
                                 (Against Asfora and MDLLC)
                           False Claims Act,31 U.S.C.§ 3729(a)(1)(C)
                               Conspiracy to Submit False Claims

        335.    The United States incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.



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         336. Asfora and MDLLC entered into an unlawful agreement to cause the presentation
 of false or fraudulent claims to the United States, and performed acts in furtherance of this

 conspiracy. Specifically, Asfora and MDLLC used MDLLC as a vehicle through which to offer
 and/or pay Asfora remuneration in order to induce him to use MDLLC, Life Spine, Aegis, and
 Samba products in his surgeries at the Hospitals.

         337. MDLLC performed acts in furtherance of this conspiracy by, among other things,
 entering into arrangements to manufacture MDLLC and Samba products for Asfora's use; entering
 into arr-angements to acquire Life Spine and Aegis products for Asfora's use; distributing.MDLLC,
 Life Spine, Aegis, and Samba products to the Hospitals for Asfora's use; soliciting and receiving
 remuneration from Life Spine and Aegis; and paying Asfora to induce him to use such products.
        338. Asfora performed acts in furtherance of this conspiracy by, among other things,

 soliciting and receiving remuneration from MDLLC,Life Spine, and Aegis; causing the Hospitals
 to order MDLLC, Life Spine, Aegis, and Samba products; using such products in his surgeries;

 and presenting and causing to be presented claims.to Medicare, Medicaid, and TRICARE for such

 surgeries and hospital services.

        339. By virtue of these false or fraudulent claims, the United States suffered damages in

an amount to be determined at trial.


                                            COUNT VI
                                  (Against Asfora and Sicage)
                           False Claims Act,31 U.S.C.§ 3729(a)(1)(C)
                               Conspiracy to Submit False Claims

        340.    The United States incorporates by reference each of the preceding paragraphs as if

fully set forth in this paragraph.

        341.    Asfora and Sicage entered into an unlawful agreement to cause the presentation of

false or fraudulent claims to the United States, and performed acts in furtherance ofthis conspiracy.

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 Specifically, Asfora and Sicage used Sicage as a vehicle through which to offer and/or pay Asfora
 remuneration in order to induce him to use Sicage products in his surgeries at SMC.
         342. Sicage performed acts in furtherance of this conspiracy by, among other things,
 entering into arrangements to manufacture Sicage products for Asfora's use; distributing Sicage
 products to SMC for Asfora's use; and offering and/or paying Asfora to induce him to use such
 products.

        343. Asfora performed acts in furtherance of this conspiracy by, among other things,
 soliciting and/or receiving remuneration from Sicage; concealing his ownership in Sicage from
 Sanford and the United States; causing Sanford to order Sicage products for his use at SMC; using
 such products in his surgeries; and presenting and causing to be presented claims to Medicare,

 Medicaid, and TRICARE for such surgeries and hospital services.

        344. By virtue ofthese false or fraudulent claims, the United States suffered damages in
 an amount to be determined at trial.


                                           COUNT VII
                                     (Against All Defendants)
                                        Unjust Enrichment

        345. The United States incorporates by reference each ofthe preceding paragraphs as if

fully set forth in this paragraph.

        346.    This is a claim for the recovery of monies by which all defendants have been

unjustly enriched. .      ,

        347. By directly or indirectly obtaining from the United States, through Medicare,

Medicaid, and TRICARE, funds to which they , were not entitled, defendants were unjustly
enriched, and are liable to account and pay such amounts, or the proceeds therefrom, which are to

be determined at trial.




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                                            COUNT vni
                                      (Against All Defendants)
                                        Payment by Mistake
         348. The United States incorporates by reference each ofthe preceding paragraphs as if
 fully set forth in this paragraph.

         349. This is a claim for the recovery of monies the United States paid directly or
 indirectly to defendants as a result of mistaken understandings offact
         350. The United States' mistaken-understandings offact were material to its decision to
 pay the claims subrnitted by Asfora and the Hospitals for surgeries Asfora performed using
 MDLLC,Life Spine, Aegis, Samba, and Sicage products and for related services.

        351.    The United States, acting in reasonable reliance on the truthfulness of the claims;

 and the truthfulness of statements, certifications, and representations by Asfora and the Hospitals,
 paid monies directly or indirectly to defendants to which they were not entitled. Thus,the United
 States is entitled to recoup such monies, in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

        The United States requests thatjudgment be entered in its favor and against defendants as
follows:


        (a)     On Counts I, II, III, TV, V,and VI(False Claims Act),for treble the United States'
                damages,together with the maximum civil penalties allowed by law;
       (b)      On Count VII (Unjust Enrichment), in the amount by which-defendants were
                unjustly enriched;

       (c)      On Count VIII(Payment By Mistake), in the amount illegally obtained and retained
                by defendants; and

     ' (d)     Pre- and post-judgment interest, costs, and such other relief as the Court may deem
               appropriate.

                                        JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38,the United States requests a trial by jury.

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 Date: November 13, 2019.          Respectfully Submitted,

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